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                               EXHIBIT 1
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   &12~   United States Patent                                                            (Io) Patent No.                        :       IJS 9,659,296 B2
          Patel                                                                           (45)     Date of Patent:                                May 23, 2017

   (54)   METHOD AND SYSTEM FOR PRESENTING                                           (56)                              References Cited
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   (73) Assignee:      PAYRANGE INC. , Portland, OR (US)
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   (65)                   Prior Publication Data
                                                                                     Pri mary Examiner     Frantzy Poinvil
          US 2015/0170132 Al           Jun. 18, 2015
                                                                                     (74) Attorney, Agent, or Firm    Morgan, Lewis &
                                                                                     Bockius LLP

                   Related U. S. Application      Data                               (57)                                   ABSTRACT
                                                                                     After sending a request to a payment module, via a first
   (63) Continuation-in-part of application No. 14/456, 683,                         communication capability (e.g. , BLE), to initiate a transac-
        filed on Aug. 11, 2014, now Pat. No. 9,256, 873,
                                                                                     tion with a payment accepting unit associated with the
                             (Continued)                                             payment module, a mobile device with one or more proces-
                                                                                     sors, memory, one or output devices, and two or more
   (51) Int. Cl.                                                                     communication capabilities obtains a notification from the
        GOD 40/00                  (2012.01)                                         payment module via the first communication capability. The
        GOD 20/40                  (2012.01)                                         notification indicates an event at the payment accepting unit
                             (Continued)                                             associated with the payment module. In response to obtain-
   (52)   U. S. Cl                                                                   ing the notification, mobile device provides a representation
          CPC ...          G06Q 20/40 (2013.01); GOD 20/18                           of the notification to a user of the mobile device via the one
                            (2013.01); GOD 20/322 (2013.01);                         or more output devices of the mobile device. For example,
                             (Continued)                                             a message is displayed on a display of the mobile device, a
   (58) Field of Classification Search                                               vibration alert is produced by a vibration mechanism of the
        CPC ........ G06Q 10/00; G06Q 20/00; G06Q 30/00;                             mobile device, an aural alert is produced by a speaker of the
                                                                 G06Q 40/00          mobile device, and/or the like.
                             (Continued)                                                                  23 Claims, 45 Drawing Sheets




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         Figure 9C                                                     F'. 4:. QA   I

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                                            Figure 10A
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           Figure 19              Lh
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                                      Male Adapter
                                            720
          Adapter Module 100




              Processing Unit 750                            Memory 760




                                                           Communications
                                                                 Unit   770

                                                           Input/Output(IO)
               Security Unit 755                             Mechanisms
                                                                 772 7?4
             (e.g. , encryption and
                    decryption
                   technology)
                                                             Short-Range
                                                               Comm.
                                                            Capability 776

                                                           (e.g. , Bluetooth
                                                            mechanisms)




                                           Female
                                      Adapter     730
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          Mobile Device    150




             Processing Unit       ~                                   Memory      860




                                                                         App   140




                                       Communications   Unit   870



                   Long-Range Comm.                       Short-Range Comm.
                     Capability 8T2                          Capability 8T6

                (e.g. , cellular   and/or Nfi-Fi               (e.g. , Bluetooth
                        mechanisms)                             mechanisms)
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          System Management    Server 130




                                        Security Unit
                                              955
             Processing Unit
                                                                    Memory   960
                  950                 {e.g. , encryption
                                       and decryption
                                         technology)




                                Communications        Unit   970



                                   Long-Range Comm.
                                       Capability 972

                                {e.g. , cellular
                                               andior Wi-Fi
                                        mechanisms)




                                       Figure 22
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                                                1000


           Payment                             Mobile Device
          Module 100                                150                              Server 130




              e  Broadcast (1002) a packet
              ', with at least: an auth code
               'and
               ,      a module ID



                                                         Send (1004) an auth request
                                                         with atleast: the auth code
                                                         from the packet, a user ID,
                                                         and the module ID




                                                            Process (1006) auth
                                                                          request           I




                                                                   Send (1008) auth grant   I
                                                                                    token   I




                  Detect (1010) a trigger
                                condition
                                                     I



                    In response to detecting the ~
                          trigger condition, send I
                     (1012) the auth grant token',




                                            Figure 23
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                                                  1200


                                       Payment                           Mobile
            Machine
              120                       Module                           Device
                                            100                           150


                      Obtain   (1202) an
                               indication
                  corresponding to an
               'event
               ,        at the machine



                                                         Generate
                                                         (1204) a
                                                         notification
                                                         corresponding
                                                         to the event


                                              Send (1206) the
                                              notlflcatlon



                                                                                  Provide
                                                                                  (1208) a
                                                                                  rep. of the
                                                                                  notification




                                        Figure 25A
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          Machine                   Payment                                Mobile
                                                                                                           Server
                                     Module                            Device
            120                           100                               150                             130


                    Obtain (1252) an
                            lndlcatlon
                    corresponding to
                  completion of a first
                                    txn

                                                      Generate and
                                                      store (1254) a
                                                      first notification
                                                      with first txn
                                                      info based on
                                                      the indication


                                            Send (1256) the first
                                            notification

                                                                                            Provide
                                                                                            (1258) a
                                                                                            rep. of the
                                                                                            fII st
                                                                                            notification


                                                                                Send (1260) the first         I
                                                                                txn info                      I
                                                                                                              I


                                                                                       Process
                                                                                     (1262) the
                                                                                    first txn info
                                                                                                             I
                                                                                                             l
                                                                                                             l

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                                                                                               ack info s

                                                    Send (1266) first
                                                            ack info



                                                      Delete (1268)
                                                      the stored first
                                                      txn info



                                                Figure 25B
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              At a mobile device with one or more processors, memory, one or more output                       1402
              devices, and two or more communication capabilities:
                    After sending a request to a payment module via a first communication
              capability transaction to initiate a transaction with a payment accepting unit
              associated with the payment module, obtain a notification from the payment
              module via the first communication capability, wherein the notification
              indicates an event at the payment accepting unit associated with the payment
              module


               I
                       The first communication      capability corresponds      to a short-range
                                                                                                               1404
               I                                communication protocol
               I




                   In response to obtaining the notification, provide a representation of the                  1406
              notification to a user of the mobile device via the one or more output devices of
                                               the mobile device

               I   The one or more output devices of the mobile device include at least one                    1408
               I    of: a display, one or more speaker, one or more LEDs, and a vibration
               I                                  mechanism                                            I




               I   The representation      of the notification is at least one of:                             1410
                             A   message displayed on the display of the mobile device;                I

               I                                                                                       I
                             A banner notification   displayed on a display of the mobile device;
                             A vibration alert from the vibration   mechanism    of the mobile
                   device;
               I                                                                                       I
                             An aural alert from the   one or more speakers of the mobile
                   device; and
               I                                                                                       I

                             A visual alert from the   one or more LEDs of the mobile device




          I
               The notification indicates abortion of a transaction initiated by the user of the           I
          I                                                                                                    1412
                                                 mobile device




                                                     Figure 27A
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          I
              The notification indicates completion of a transaction between the user of the             +1414
                               mobile device and the payment accepting unit
          I

          I
                                                                                                         I
          I
              I
                  The notification at least includes an amount of the completed transaction          ~1416
                                                                                                     I

                                                                                                     I
          I   I




          r
                       Send at least a portion of the notification to a server via a second
                   communication    capability distinct from the first communication capability              1418
                                                                                                         I
          I

          I                                                                                                  1420
                       The first communicationcapability corresponds to a short-range                    I

                      communication protocol and the second communication capability                     I
          I
              I            corresponds to a long-range communication protocol                            I
          I                                                                                          I
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                                                                                                         L1422
          I       The notification indicates failure of a transaction initiated by the user of the
                  mobile device or a malfunction associated with the payment accepting unit
          I




                                                 Figure 27B
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               While operating the payment module in a training mode, detect, via a first       1602     I
              interface module, a preset sequence of payment acceptance signals from a
              coin receiving switch of an off line-payment operated machine that causes a                ~



            control unit of the off line-payment operated machine to initiate ihe operation ofl
        ~

            the off line-payment operated machine, where the preset sequence of payment/
             acceptance signals are indicative of a preset number of coins received by the [
        ~




                                             coin receiving switch
                                                                                                         I




        I
            Determine the predefined signal sequence to emulate the preset sequence of                   ~

                     payment acceptance signals from the coin receiving switch                               1604
                                                                                                         I
        I
                                                                                                         I
        I
             ~
                 Determining   the predefined signal sequence includes at least one of:
        I
                        Identifying a count of pulses        in   the present sequence of payment
        I
             ~
                 acceptance signals;                                                                     I
        I
                                                                                                     I
                       Identifying amplitude of pulses            in   the present sequence of
                 payment acceptance signals;                                                             I

                        Identifying shape of pulses     in    the present sequence of payment            I

                 acceptance signals; and
                                                                                                     ~



             I
                        Identifying    an interval between pulses                                        I

                                                                                                         I
        I




                  Receive a request via the short-range communication capability from a
                  respective mobile device to perform an operation of the off line-payment
                                             operated machine



                                               Validate the request                                          1610

                   Validation of the request indicates that the respective mobile device is                  1612
                 authorized to initiate payment for the operation by a remote server via the
                                      long-range communication capability




                                                Figure 29A
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                                                                                                       1614
            Inaccordance with a determination that the request is valid, cause the payment
               operated machine to perform the operation by issuing a predefined signal
            sequence to the control unit, where the predefined signal sequence emulates a
            signal sequence that would be issued by the coin receiving switch in response
                                 to receiving a preset number of coins




        I
          Prior to sending the operation information and after causing the offline-paymentI
            operated machine to perform the operation by issuing the predefined signal             I   "6"6
        I sequence to the control unit, obtaining     a notification from the off line-payment     I
        I operated machine indicating     initiation of the operation of the off line-payment
        I                 operated machine and the preset number of coins
                                                                                                   I




        I
             In   response to receiving the notification:                                          I
        I
                                                                                                   I   1618
                     Generate the operation information     based at least   in   part on the
                                                                                                   I
             notification; and
        I
                                                                                                   I
                     Store the generated operation information     in   the memory
                                                                                                   I




        I                                                                                         I

                 Send operation information corresponding to the operation to the respective
        I               mobile device via the short-range communication capability
        I                                                                                          I




                                               Figure 298
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                                               170



               Receive a request via a short-range communication capability from a          1?02
             respective mobile device to perform an operation of the off line-payment
                                        operated machine




                                       Validate the request                                 1704

                                                                                            1?06
              Validation of the request indicates that the respective mobile device is
            authorized to initiate payment for the operation by a remote server via the
                                 long-range communication capability




              In accordance with a determination   that the request is valid, perform the   1?08
            operation by issuing a predefined signal sequence to the control unit, where
          the predefined signal sequence emulates a preset number of coins received by
                                      the coin receiving switch




                                          Figure 30
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                                  1
       METHOD AND SYSTEM FOR PRESENTING                                 the retail sector in an efiort to not only provide options to the
          REPRESENTATIONS OF PAYMENT                                    user, but also increased convenience.
             ACCEPTING UNIT EVENTS
                                                                                                 SUMMARY
                        PRIORITY CLAIM
                                                                           Disclosed herein is a payment processing system or, more
      The present application is a continuation-in-part     of U. S.    specifically, a mobile-device-to-machine       payment process-
   patent application Ser. No. 14/456, 683, now U. S. Pat. No.          ing   system  over  a non-persistent   network   connection with
                                                                        hands-free mode and manual mode (sometimes also herein
   9,256, 873, filed Aug. 11, 2014, which is a continuation of
                                                                     10 called "swipe" or "swipe-to-pay" mode).
   U. S. patent application Ser. No. 14/335, 762, filed Jul. 18,
                                                                           In some implementations, a method of presenting repre-
   2014, which is a continuation of U. S. patent application Ser.
                                                                        sentations of payment accepting unit events is performed at
   No. 14/214, 644, now U. S. Pat. No. 8, 856, 045, filed Mar. 14,
                                                                        a device (e.g. , the mobile device 150, FIGS. 5 and 21) with
   2014, which claims priority to U. S. Provisional Patent              one or more processors, memory, one or more output
   Application No. 61/917, 936, filed Dec. 18, 2013. U. S. patent 15 devices, and two or more communication capabilities. After
   application Ser. No. 14/214, 644, filed Mar. 14, 2014 is also        sending a request to a payment module (e.g. , the adapter
   a continuation-in-part of U. S. Design patent application Ser.       module 100, FIGS. 5 and 20), via a first communication
   No. 29/477, 025, filed Dec. 18, 2013. The present application        capability (e.g. , a short-range communication technology/
   is based on and claims priority from these applications, the         protocol such as BLE), to initiate a transaction with a
   disclosures of which are hereby expressly incorporated 20 payment accepting unit (e.g. , the payment accepting unit
   herein by reference.                                                 120, FIGS. 5 and 19) (sometimes also herein called
                                                                        "machine 120") associated with the payment module, the
                   FIELD OF THE INVENTION                               method includes obtaining a notification from the payment
                                                                        module via the first communication capability, where the
      The present application relates to the field of payment 25 notification indicates an event at the payment accepting unit
   processing systems, and in particular, to a mobile-device-           associated with the payment module. In response to obtain-
   to-machine payment processing system over a non-persis-              ing the notification, the method includes providing a repre-
   tent network connection.                                             sentation of the notification to a user of the mobile device via
                                                                        the one or more output devices of the mobile device (e.g. , a
             BACKGROUND OF THE INVENTION                             30 message displayed on a display of the mobile device, a
                                                                        vibration produced by a vibration mechanism of the mobile
      Vending machines (or "automatic retailing" machines), in          device, an aural alert produced by a speaker of the mobile
   the broadest sense, have been around for thousands of years.         device, and/or the like).
   The first simple mechanical coin operated vending machines              In some implementations,        a method of retrofitting an
   were introduced in the 1880s. Modern vending machines 35 ofiline-payment operated machine to accept electronic pay-
   stock many difi'erent types of products including, but not           ments is performed at a payment module (e.g. , the adapter
   limited to drinks (e.g. , water, juice, cofi'ee, and soda) and       module 100, FIGS. 5 and 20) with one or more processors,
   edible food products/items     (e.g. , snacks, candy, fruit, and     memory, a short-range communication capability (e.g. , a
   frozen meals), as well as a wide variety of non-food items.          short-range communication         technology/protocol     such as
   In this fast paced world, vending machines are ubiquitous. 40 BLE), and a first interface module configured to couple the
      Vending machines are one type of "payment accepting               payment module with a control unit of an ofiline-payment
   unit" (payment accepting units are also referred to herein           operated machine (e.g. , the payment accepting unit 120,
   generically as "machines"). A payment accepting unit (or             FIGS. 5 and 19) (sometimes also herein called "machine
   machine) is equipment that requires payment for the dis-             120"). The method includes receiving a transaction request
   pensing of products and/or services. In addition to vending 45 via the short-range communication capability from a respec-
   machines, payment accepting units can also be other                  tive mobile device to perform a transaction with the ofiline-
   machines that require payment for the dispensing of a                payment operated machine. The method includes validating
   product and/or services including, but not limited to parking        the transaction request, where validation of the transaction
   meters, toll booths, laundromat washers and dryers, arcade           request indicates that the respective mobile device is autho-
   games, kiosks, photo booths, toll booths, transit ticket dis- 50 rized to initiate payment for the transaction by a remote
   pensing machines, and other known or yet to be discovered            server (e.g. , the server 130, FIGS. 5 and 22) via the
   payment accepting units.                                             long-range communication capability (e.g. , the long-range
      In using a payment accepting unit, a user will (I)                communication technology/protocol         such as GSM, CDMA,
   approach the payment accepting unit, (2) determine from the          or Wi-Fi). In accordance with a determination that the
   face of the payment accepting unit the product (or service) 55 transaction request is valid, the method includes causing the
   he/she desires, (3) insert payment (e.g. , coins, bills, or          ofiline-payment operated machine to perform the requested
   payment cards), and (4) input his/her selection into the             transaction by issuing a signal to perform the transaction to
   payment accepting unit using a user interface (e.g. , a series       the control unit of the offline-payment operated machine via
   of buttons, a key pad, touch screen, or other input mecha-           the first interface module.
   nism using, for example, the column and row at which a 60               In some implementations, a device (e.g. , the machine 120,
   product is located). Based on the user's inputted selection,         (FIGS. 5 and 19), the adapter module 100 (FIGS. 5 and 20),
   technology within the payment accepting unit provides the            the mobile device 150 (FIGS. 5 and 21), the server 130
   desired product (or service) to the user.                            (FIGS. 5 and 22), or a combination thereof) includes one or
      As the number of people with Internet-connected mobile            more processors and memory storing one or more programs
   devices proliferates, so does the variety of uses for such 65 for execution by the one or more processors, the one or more
   devices. Mobile payment is a logical extension. There is a           programs include instructions for performing, or controlling
   large development efiort around bringing mobile payment to           performance of, the operations of any of the methods
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   described herein. In some implementations, a non-transitory          "payment zone" and, in particular, detailing a hands-free
   computer readable storage medium storing one or more                 mode embodiment and a swipe mode embodiment in accor-
   programs, the one or more programs comprising instruc-               dance with some implementations.
   tions, which, when executed by a device (e.g. , the machine             FIG. SD is a schematic process flow diagram that shows
   120, (FIGS. 5 and 19), the adapter module 100 (FIGS. 5 and 5 additional elements and features of the payment processing
   20), the mobile device 150 (FIGS. 5 and 21), the server 130          system     (e.g. , communications,      messaging,     vending
   (FIGS. 5 and 22), or a combination thereof) with one or              sequence, and purchase flow) in a vending transaction
   more processors, cause the computer system to perform, or            including a loop for multiple transactions in accordance with
   control performance of, the operations of any of the methods         some implementations.
   described herein. In some implementations,       a device (e.g. , 10    FIG. SE is a schematic process flow diagram that shows
   the machine 120, (FIGS. 5 and 19), the adapter module 100            additional elements and features of the payment processing
   (FIGS. 5 and 20), the mobile device 150 (FIGS. 5 and 21),            system     (e.g. , communications,      messaging,     vending
   the server 130 (FIGS. 5 and 22), or a combination thereof)           sequence, and purchase flow) in the login mode in accor-
   includes means for performing, or controlling performance            dance with some implementations.
   of, the operations of any of the methods described herein. 15           FIG. SF is a schematic process flow diagram that shows
      The subject matter described herein is particularly pointed       additional elements and features of the payment processing
   out and distinctly claimed in the concluding portion of this         system     (e.g. , communications,      messaging,     vending
   specification.     Objectives, features,   combinations,    and      sequence, and purchase flow) during boot-up of the adapter
   advantages described and implied herein will be more                 module in accordance with some implementations.
   readily understood upon consideration of the following 20               FIG. SG is a schematic process flow diagram that shows
   detailed description of the invention, taken in conjunction          additional elements and features of the payment processing
   with the accompanying drawings.                                      system     (e.g. , communications,      messaging,     vending
                                                                        sequence, and purchase flow) during an account check/
          BRIEF DESCRIPTION OF THE DRAWINGS                             update process in accordance with some implementations.
                                                                     25    FIGS. 9A-9E are flow charts that show example steps and
      FIG. 1 is a schematic diagram that shows three zones: a           features of the payment processing system (e.g. , communi-
   "communication zone" (e.g. , Bluetooth range), an "autho-            cations, messaging, vending sequence, and purchase flow) in
                 "
   rization zone, and a "payment zone" in accordance with               accordance with some implementations.
   some implementations.                                                   FIGS. 10A-10D show a mobile device with a graphical
      FIG. 2 is a schematic diagram that shows the three zones 30 representation of a mobile application shown thereon, the
   of FIG. 1 with multiple users therein in accordance with             mobile application being used as part of the mobile-device-
   some implementations.                                                to-machine payment processing system in accordance with
      FIG. 3 is a table that illustrates the hands-free credit or       some implementations.
   alert user principle in accordance with some implementa-                FIG. 11 is a perspective view of the in-line dongle adapter
   tions.                                                            35 module in accordance with some implementations.
      FIG. 4 is a flow chart showing the logging received signal           FIG. 12 is a front plan view of the in-line dongle adapter
   strength indicator (RSSI) information in accordance with             module of FIG. 11 in accordance with some implementa-
   some implementations.                                                tions.
      FIG. 5 is a block schematic that shows elements of the               FIG. 13 is a back plan view of the in-line dongle adapter
   payment processing system including, but not limited to, the 40 module of FIG. 11 in accordance with some implementa-
   adapter module, the machine, the mobile device, and serv-            tions.
   ers, as well as communications therebetween in accordance               FIG. 14 is a side view of the in-line dongle adapter
   with some implementations.                                           module of FIG. 11 in accordance with some implementa-
      FIG. 6 is a block schematic that shows three areas of             tions.
   encryption used (each is bi-directional) between the adapter 45         FIG. 15 is a first end view of a connector receptacle of the
   module, the machine, the mobile device, and/or servers in            in-line dongle adapter module of FIG. 11 in accordance with
   accordance with some implementations.                                some implementations.
      FIG. 7 is a block diagram that shows communications,                 FIG. 16 is a second end view of a connector receptacle of
   messaging, vending sequence, and purchase flow between               the in-line dongle adapter module of FIG. 11 in accordance
   the adapter module, the mobile device, and a system man- 50 with some implementations.
   agement server in accordance with some implementations.                 FIG. 17 is a perspective view taken from the first end of
      FIG. SA is a schematic process flow diagram that shows            the in-line dongle adapter module of FIG. 11, the connectors
   additional elements and features of the payment processing           and cables between which the in-line dongle adapter module
   system      (e.g. , communications,      messaging,    vending       is inserted being shown in broken lines for illustrative
   sequence, and purchase flow) when the user enters the 55 purposes in accordance with some implementations.
   "communication zone" (e.g. , Bluetooth range) in accordance             FIG. 1S is a perspective view taken from the second end
   with some implementations.                                           of the in-line dongle adapter module of FIG. 11, the con-
      FIG. SB is a schematic process flow diagram that shows            nectors and cables between which the in-line dongle adapter
   additional elements and features of the payment processing           module is inserted being shown in broken lines for illustra-
   system      (e.g. , communications,      messaging,    vending 60 tive purposes in accordance with some implementations.
   sequence, and purchase flow) when the user enters the                   FIG. 19 is a perspective view of the in-line dongle adapter
   "authorization zone" in accordance with some implementa-             module of FIG. 11 within a vending machine in accordance
   tions.                                                               with some implementations.
      FIG. SC is a schematic process flow diagram that shows               FIG. 20 is a block diagram of an adapter module in
   additional elements and features of the payment processing 65 accordance with some implementations.
   system      (e.g. , communications,      messaging,    vending          FIG. 21 is a block diagram of a mobile device in accor-
   sequence, and purchase flow) when the user enters the                dance with some implementations.
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       FIG. 22 is a block diagram of a server in accordance with            Easy Installation: Installation is very easy, requires no
   some implementations.                                                 tools, requires no configuration, and takes as little as 30
       FIG. 23 is a schematic flow diagram of a process for              seconds. This is accomplished by using an adapter module
   authenticating a user to perform a transaction in the payment         100 (sometimes also herein called "payment module 100")
   processing system in accordance with some implementa-            6    such as an in-line dongle (a hardware device with software
   tions.                                                                thereon) design for in-line insertion within a multi-drop bus
       FIG. 24A is a block diagram of a packet of information            (MDB) of a payment accepting unit 120 (e.g. , a vending
   broadcast by the payment module (sometimes also herein                machine) (sometimes also herein called "the machine 120").
                                                                         Installation is as simple as "powering down" (turning o@
   called the "adapter module" ) in accordance with some
                                                                    10   the machine 120, identifying the "wire" that connects with
   implementations.
                                                                         a payment receiving mechanism (e.g. , the coin mechanism),
       FIG. 24B is a block diagram of an authorization request
                                                                         disconnecting the wire (so that there are two loose ends,
   in accordance with some implementations.
                                                                         such as a male connection end or adapter of an MDB and a
       FIG. 24C is a block diagram of an authorization grant             female connection end or adapter of an MDB), plugging
   token in accordance with some implementations.                   16   (inserting) the adapter module 100 in serial ("in-line") with
       FIG. 24D is a block diagram of transaction information            the wire (e.g. , connecting the MDB female adapter to a male
   generated by the payment module in accordance with some               adapter of the adapter module 100 and connecting the MDB
   implementations.                                                      male adapter to a female adapter of the adapter module 100),
       FIG. 25A illustrates a schematic flow diagram of a process        tucking the wire and the installed adapter module 100 back
   for providing a representation of a machine event at a mobile    20   into position, and "powering up" (turning on) the machine
   device in accordance with some implementations                        120. Most vending machines made since 1995 have this
       FIG. 25B is a schematic flow diagram of a process for             industry standard MDB technology, allowing this easy
   processing acknowledgment        information in the payment           30-second installation. On machines without MDB technol-
   processing system in accordance with some implementa-                 ogy, the adapter module 100 can be configured or designed
   tions.                                                           26   to work with other serial protocols or activate a switch. In
       FIGS. 26A-26D illustrate example user interfaces for              essence the adapter module 100 simulates establishing pay-
   providing a representation of a machine event at a mobile             ment on payment accepting unit 120 in much the same
   device in accordance with some implementations.                       manner as other alternative forms of payment (e.g. , cash).
       FIGS. 27A-27B illustrate a flowchart diagram of a                    Non-persistent Network Connection: Although payment
   method of presenting representations of payment accepting        30   accepting units (or "machines") that accept only cash (e.g. ,
   unit events in accordance with some implementations.                  paper currency and coins) may not require a connection
       FIG. 28A illustrates a block diagram of an oflline-pay-           (persistent or non-persistent) to a network, traditional pay-
   ment operated machine in accordance with some implemen-               ment accepting units that accept cashless payments (e.g. ,
   tations.                                                              credit cards, debit cards, and alternative mobile device
       FIG. 2SB illustrates signals sampled by the payment          36   payment methods using, for example, smart phones) require
   module in accordance with some implementations.                       a persistent connection to a network (wired or wireless) to
       FIGS. 29A-29B illustrate a flowchart diagram of a                 facilitate the cashless payments. In other words, without a
   method 1600 of retrofitting an oflline-payment        operated        persistent (ongoing or accessible on demand) network con-
   machine to accept electronic payments in accordance with              nection, traditional payment accepting units cannot accept
   some implementations.                                            40   cashless payments. Most traditional payment accepting units
       FIG. 30 illustrates a flowchart diagram of a method of            that accept cashless payments include the technology to
   enabling a payment operated machine to accept electronic              accomplish this persistent network connection that allows
   payments in accordance with some implementations.                     them to connect to a remote server. If the network connec-
       Like reference numerals refer to corresponding parts              tion to a traditional machine is temporarily interrupted,
   throughout the several views of the drawings.                    46   cashless payments will be temporarily unavailable. If the
                                                                         machine is located in a location where no network connec-
             DETAILED DESCRIPTION OF THE                                 tion is available, cashless payment processing over the
                      INVENTION                                          network connection is not possible. In addition to using a
                                                                         mobile device 150 as an intermediary between the payment
      Disclosed herein is a payment processing system or, more      60   accepting units 120 and the server 130, the mobile-device-
   specifically, a mobile-device-to-machine    payment process-          to-machine payment processing system described herein
   ing system for processing transactions over a non-persistent          minimizes (i.e. , the manual mode) or eliminates (i.e. , the
   network connection. The mobile-device-to-machine         pay-         hands-free mode) user interaction with the mobile device
   ment processing system disclosed herein focuses on the                150. Further, in some implementations, the mobile-device-
   unattended retail space (e.g. , a payment accepting unit 120,    66   to-machine payment processing system described herein
   sometimes also herein called a "machine 120"). More spe-              facilitates the acceptance of cashless payments without
   cifically, the mobile-device-to-machine   payment processing          requiring any network connection near the payment accept-
   system disclosed herein allows a user (having a mobile                ing unit 120. In some implementations,      when the mobile-
   device 150 with a mobile application 140 thereon) to make             device-to-machine payment processing system described
   a cashless purchase from a payment accepting unit 120            60   herein is located in a remote location where network con-
   (having an adapter module 100 associated therewith).                  nection is unavailable, the mobile-device-to-machine      pay-
      The mobile-device-to-machine      payment processing sys-          ment processing system, therefore, can still accept cashless
   tem described herein can be implemented with one or more              payments.
   of the following features: easy installation feature, a non-             Manual (Swipe-to-Pay) Mode: Using a "swipe-to-pay"
   persistent network connection feature; a manual (swipe to        66   feature (or just "swipe") refers to a user's action imple-
   pay) mode feature; a hands-free mode feature; and a mul-              mented on his/her mobile device 150 where he/she quickly
   tiple vending transactions (multi-vend) feature.                      brushes his/her finger (or other pre-determined interaction)
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   on the mobile device's touch screen 152 (FIGS. 10A-10D)                ing system described herein, operators of machines 120 can
   or other input devices associated with the mobile device 150.          increase frequency of visits by purchasers and items sold
   From the user's perspective, when the user is within range,            with each visit.
   a pre-installed mobile application 140 automatically con-                 The mobile-device-to-machine    payment processing sys-
   nects to the payment accepting unit 120 (e.g. , a vending           6 tem described herein may be implemented     as an apparatus,
   machine). The mobile application 140 might display (on the             system, and/or method for enabling payments to a machine
   touch screen 152) a prepaid balance that the user "swipes"             120 via a mobile device 150. The mobile-device-to-machine
   to transfer payment to the payment accepting unit 120. The             payment processing system may be better understood with
   user could observe the transferred funds on the touch screen           reference to the drawings, but the shown mobile-device-to-
                                                                       10 machine payment processing system is not intended to be of
    152 of the mobile device 150 and/or on the display 122, 124
                                                                          a limiting nature.
    (FIG. 19) of the payment accepting unit 120. The transaction
   is completed just as if cash was inserted in the machine 120
                                                                                                     Definitions
   with the user inputting his selection on the payment accept-
   ing unit 120 and the payment accepting unit 120 dispensing          16      Before describing the mobile-device-to-machine payment
   the product or service. After the selection is made, the                 processing system and the figures, some of the terminology
   change is returned to the mobile device 150 and this may be              should be clarified. Please note that the terms and phrases
    shown on the touch screen 152 of the mobile device 150.                 may have additional definitions and/or examples throughout
       Hands-Free Mode: A "hands-free pay" feature (or just                 the specification. Where otherwise not specifically defined,
   "hands-free") would most likely be used with "favorite"             20   words, phrases, and acronyms are given their ordinary
   payment accepting units 120 (e.g. , a frequently used vending            meaning in the art. The following paragraphs provide some
   machine at a user's work or school). From the user's                     of the definitions for terms and phrases used herein.
   perspective, he/she would approach the favorite payment                     Adapter Module 100: As shown in FIGS. 1 and 2, the
   accepting unit 120 and notice that the display 122, 124 (FIG.            adapter module 100 (sometimes also herein called the "pay-
    19) of the payment accepting unit 120 shows funds avail-           26   ment module 100") is a physical device that is installed in a
   able, he/she would select the product or service using the               machine 120 (a payment accepting unit 120). The shown
   payment accepting unit's input mechanisms (e.g. , buttons                adapter module 100 is an in-line dongle (a hardware device
    126 or a touch screen display 124 shown in FIG. 19), and                with software thereon) device that may be inserted in-line
   he/she would retrieve dispensed services or products. It                 within a multi-drop bus (MDB) of a machine 120. The
   would be that simple. More specifically, when the user is           30   adapter module 100 bridges the communication between the
   within range, a pre-installed mobile application 140 auto-               machine 120 and a mobile device 150. Although described
   matically connects to the payment accepting unit 120 (e.g. ,             as a unique component, it should be noted that the adapter
   a vending machine). The user may leave the mobile device                 module 100 could be implemented as a plurality of devices
    150 in a pocket, purse, briefcase, backpack, or other carrier.          or integrated into other devices (e.g. , components of a
   As the user approaches the payment accepting unit 120 and           36   machine 120). In its unique component form, the adapter
   is in approximately "arm' s-length" distance (e.g. , 3 to 5 feet)        module 100 can be easily inserted into a machine 120 so that
   of the payment accepting unit 120, the user could observe                the machine 120 is able to perform new features with the
   the transferred funds on the display 122, 124 (FIG. 19) of the           assistance of the adapter module 100. FIG. 20 shows com-
   payment accepting unit 120. The transaction is completed                 ponents associated with the adapter module 100. As shown
   just as if cash was inserted into the payment accepting unit        40   in FIG. 20, the communications       unit 770 of the adapter
    120 with the user inputting his/her selection on the payment            module 100 includes short-range communication capability
   accepting unit 120 and the payment accepting unit 120                    776 (e.g. , Bluetooth mechanisms). The shown example may
   dispensing the product or service. After the selection is                be divided into multiple distinct components that are asso-
   made, the change is returned to the mobile device 150. FIG.              ciated with each other or the example may be incorporated
   3 details when the hands-free mode would be available.              46   into or drawn from other technology (e.g. , a computer or a
       Multiple Vending Transactions (Multi-Vend): Both the                 payment accepting unit) as long as the components are
   manual and hands-free modes could be used multiple times                 associated with each other.
   in sequence (implemented, for example, as a loop) so that a                 Mobile Device 150 and Application 140 (also referred to
   user may make multiple purchases. After making his/her                   as a "mobile application,   "               "
                                                                                                           "mobile app, or "app"): In
   first selection and receiving his product (or service), the user    60   general, a mobile device 150 may be a user's personal
   would observe that additional funds were available on the                mobile device 150. The mobile device 150 (with a mobile
   display 122, 124 (FIG. 19) on the payment accepting unit                 application 140 thereon) acts as a communication bridge
    120. He/she could make another selection (or multiple                   between the adapter module 100 (associated with a payment
    selections) and receive additional product(s) (or service(s)).          accepting unit 120) and the server 130. The mobile device
   More specifically, the display 122, 124 (FIG. 19) may reset         66   150 and the application 140, however, are not "trusted" in
   as if the transaction is complete, but then, because the user            that the communications       (transmissions)   it passes are
   is still standing in range, the mobile application 140 would             encrypted. Encrypted (secured) communications are unde-
    send another credit to the payment accepting unit 120,                  cipherable (unencryptable, unreadable, and/or unuseable) by
   allowing for a second purchase. When the user walks away,                the mobile device 150. This keeps the communications
   the system clears (e.g. , returns unused funds to the applica-      60   passed between the adapter module 100 and the server 130
   tion 140 on the mobile device 150).                                      secured and safe from hacking Mobile devices include, but
       The features described above, alone or in combination                are not limited to smart phones, tablet or laptop computers,
   with other features described herein will revolutionize the              or personal digital assistants (PDAs), smart cards, or other
   hundred billion dollar automated retail industry. The hard-              technology (e.g. , a hardware-software combination) known
   ware is very low cost and there are no reoccurring fees             66   or yet to be discovered that has structure and/or capabilities
   because no cellular connection is required on the machine                similar to the mobile devices described herein. The mobile
    120. Using the mobile-device-to-machine payment process-                device 150 preferably has an application (e.g. , the applica-
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                                                                                                        10
   tion 140) running on it. The term "app" is used broadly to             shown in the figures may be replaced with alternative like
   include any software program(s) capable of implementing                communications technology and, therefore, specific shown
   the features described herein. FIGS. 10A-10D show user                 communications technologies are not meant to be limiting.
   interfaces for the application 140 displayed by the mobile             For example, Wi-Fi technology could be replaced with
   device 150. It should be noted that the phrase "mobile            6    another long-range communication technology.
   device" can be assumed to include the relevant app unless                  Server: A server is the host processing server that may be
   specifically stated otherwise. Similarly, it should be noted           operated by the company running the payment processing
   that an "app" can be assumed to be running on an associated            system. For each user, the server 130 preferably maintains at
   mobile device unless specifically stated otherwise. FIG. 21            least one "virtual wallet" having at least one "balance"
   shows components associated with the mobile device 150.           10   (which can be $0) of designated funds for which the server
   The shown example may be divided into multiple distinct                130 keeps an accounting. The balance may represent, for
   components that are associated with each other or the                  example, "cash" or it may be a "promotional value" that
   example may be incorporated into or drawn from other                   represents funds that may be spent under certain circum-
   technology (e.g. , the cell phone itself) as long as the com-          stances. If these funds begin to be depleted, the user may be
   ponents are associated with each other.                           16   notified (e.g. , via the application 140 on the mobile device
      Payment Accepting Unit 120 (or Machine 120): A pay-                 150) that additional funds need to be designated and/or
   ment accepting unit 120 (or the machine 120) is equipment              transferred. Alternatively, funds from other sources (e.g. , the
   that requires payment for the dispensing of a product and/or           funding source server 160) may be automatically transferred
   service. Payment accepting units 120 may be vending                    to restore a predetermined balance. The balance may also be
   machines, parking meters, toll booths, laundromat washers         20   increased based on a promotion (e.g. , points earned or
   and dryers, arcade games, kiosks, photo booths, toll booths,           coupons). As shown in FIG. 22, the server includes appro-
   transit ticket dispensing machines, and other known or yet to          priate processors 950, memory 960 (which would keep an
   be discovered payment accepting units 120. Some payment                accounting of the user's balance in a manner similar to a gift
   accepting units 120 can accept cashless payments (payments             card), and communication systems 970. As shown in FIG.
   other than cash (paper currency and coins)) by accepting          26   22, the communications unit 970 of the server 130 includes
   payment from, for example, credit cards, debit cards, and              long-range communication          capability 972 (e.g. , cellular
   mobile devices.                                                        technology and/or Wi-Fi mechanisms). The server 130 also
      Network Connections: For purposes of this discussion, a             includes a security unit 955 for encrypting and decrypting
   persistent network connection is a wired or wireless com-              messages. The server 130 receives an authorization request
   munications connection that is ongoing (e.g. , a dedicated        30   (sometimes also herein called an "AuthRequest") from the
   connection, a dedicated online connection, and/or a hard-              adapter module 100 (via a mobile device 150) and, if funds
   wired connection) or accessible on demand (e.g. , the ability          are available, returns an authorization grant (sometimes also
   for the machine to make a temporary connection to a server             herein called an "AuthGrant" or an "authorization grant
   or the ability for the user to contact a server from his mobile        token") for funds. FIG. 22 shows components associated
   device). Typically the persistent network connection has          36   with the server 130. The shown example may be divided into
   been conducted over "long-range communication technol-                 multiple distinct components that are associated with each
   ogy" or "long-range communication protocol" (e.g. , hard-              other or the example may be incorporated into or drawn
   wired, telephone network technology, cellular technology               from other technology (e.g. , a computer or a main frame) as
   (e.g. , GSM, CDMA, or the like), Wi-Fi technology, wide                long as the components are associated with each other.
   area network (WAN), local area network (LAN), or any              40      Advertise Presence: Each adapter module 100 advertises
   wired or wireless communication technology over the Inter-             its presence by broadcasting signals (advertising broadcast
   net that is known or yet to be discovered). Traditionally,             signals) to mobile devices in the zones 102, 104, 106. Each
   machines that accept payment other than cash require a                 adapter module 100 can listen to other adapter modules'
   persistent (ongoing or accessible on demand) connection to             advertisements.
   a network to facilitate payment. This is true for machines        46      Received Signal Strength Indicator (RSSI): The adapter
   that accept, for example, credit cards and debit cards. The            module 100 may have a self-calibrating signal strength to
   payment accepting units 120 described herein do not require            determine zone thresholds (e.g. , a payment zone threshold
   a traditional persistent network connection. The user's                and an authentication zone threshold). At the time the user
   mobile device 150 acts as a communication bridge between               selects an item (product or service) from the payment
   the adapter module 100 and the server 130. Communications         60   accepting unit 120, the Received Signal Strength Indicator
   between user mobile devices 150 and the servers (e.g. , a              (RSSI) is logged. At this moment, it is presumed the user is
   system management server 130 and/or a funding source                   within "arm' s-length" (which may be a predetermined
   server 160) take place using long-range communication                  length approximating the distance of a user standing in front
   technology. Communications between user mobile devices                 o f a machine for the purpose o f making a purchase) from the
   150 and the adapter module 100 of the payment accepting           66   payment accepting unit 120. A mathematical computation
   unit 120 take place using "short-range communication tech-             (i.e., In-Range Heuristics) is conducted to derive the optimal
   nology" or "short-range communication protocol" (e.g. ,                RSSI threshold at which point payment should be triggered
   Bluetooth (such as Bluetooth 4.0, Bluetooth Smart, Blu-                by an application 140 on a mobile device 150. The threshold
   etooth Low Energy (BLE)), near-field communication                     may be payment accepting unit specific and can vary over a
   (NFC), Ultra Wideband (UWB), radio frequency identifica-          60   period of time. This optimal zone threshold is preferably
   tion (RFID), infrared wireless, induction wireless, or any             reported to the mobile device 150 during an initial hand-
   wired or wireless technology that could be used to commu-              shake.
   nicate a small distance (approximately a hundred feet or                  In-Range Heuristics: A mathematical computation that
   closer) that is known or yet to be discovered). Therefore,             determines the RSSI threshold to determine when a user is
   neither the adapter module 100 nor the payment accepting          66   in the authorization zone 104 and/or the payment zone 102.
   unit 120 requires a traditional persistent long-range wireless         This computation can take into consideration numerous
   network     connection. The communications          technology         historical data points as well as transaction specific infor-
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   mation such as which mobile device 150 is being used,                   AuthGrant may expire faster), or one or more of these and
   payment accepting unit type, among other factors. Prefer-               other factors. The AuthGrant remains valid until it expires or
   ably the RSSI is logged while the user is making his                    some other event occurs to end its validity (e.g. , the user
   selection (this is the one time in the entire process that the          cancels it). This means that under normal circumstances the
   user definitely will be "in range" (e.g. , they will be arm' s     5    mobile device 150 will hold the AuthGrant authorizing use
   length from the machine 120 because they are physically                 of funds for a pre-determined time period that will allow the
   interacting with the machine 120)). The type of user mobile             user sufficient time to make a purchase. The authorized
   device 150, accelerometer data (e.g. , is the user moving or            amount may be considered to be the "wallet balance" that is
   stationary), and/or other information may also be logged                held in a virtual "wallet.     "
   while the user is making his selection. The adapter module         10
                                                                              Synchronization:     Time may be synchronized         to the
   100 can give a reference RSSI for the payment zone 102 for
                                                                           adapter module 100 from the server 130. The server 130
   the machine 120, and the application 140 can make a
                                                                           sends time information with encrypted messages and the
   +/ —adjustment based on the specific mobile device 150 on
   which it is installed. Over a period of time, the payment               adapter module 100 uses the time encoded in the messages
   processing system continues to improve in-range heuristics         15
                                                                           for synchronization.
   based on additional data points.                                           The mobile-device-to-machine        payment processing sys-
      Authorization     Request ("AuthRequest"): When a user               tem and components thereof may have associated hardware,
   enters the authorization zone 104, the mobile device 150                software, and/or firmware (a variation, subset, or hybrid of
   notifies the adapter module 100 and the adapter module 100              hardware and/or software). The term "hardware" includes at
   sends a secured authorization request (e.g. , the encrypted        20
                                                                                                              "        "
                                                                           least one "processing unit, "processor, "computer, "pro- "
   authorization request) as a "message" (also referred to as a            grammable apparatus,       "and/or other known or yet to be
   communication or transmission) to the server 130 via the                discovered technology capable of executing instructions or
   mobile device 150. Encryption may be performed by a                     steps (shown as the processing unit 750 in FIG. 20, the
   security unit 755 (FIG. 20) with security technology (e.g. ,            processing unit S50 in FIG. 21, and the processing unit 950
   encryption and decryption means) that may be associated            25   in FIG. 22). The term "software" includes at least one
   with the processing unit 750 and/or the memory 760. Sig-                          "
                                                                           "program, "subprogram,         "                     "
                                                                                                          "series of instructions, or other
   nificantly, the AuthRequest is a request for authorization of           known or yet to be discovered hardware instructions or
   funds, not a request for authorization of a transaction. The            hardware-readable    program code. Software may be loaded
   purpose of the funds is irrelevant to the server 130.                   onto hardware (or firmware) to produce a "machine, such  "
      Authorization     Grant Token ("AuthGrant"): This is a          30   that the software executes on the hardware to create struc-
   "message" (also referred to as a communication or trans-                tures for implementing the functions described herein. Fur-
   mission) encrypted by the security unit 955 (FIG. 22) with              ther, the software may be loaded onto the hardware (or
   security technology (e.g. , encryption and decryption means)            firmware) so as to direct the mobile-device-to-machine
   of the server 130 with the unique private key corresponding             payment processing system (and components thereof) to
   to the adapter module 100. The secured authorization grant         35   function in a particular manner described herein or to
   (e.g. , the encrypted authorization grant) is passed from the           perform a series of operational steps as described herein.
   server 130 to the adapter module 100 via the mobile device              "Hardware" such as the adapter module 100, the mobile
   150 in the form of a message. The mobile device 150,                    device 150, and the payment accepting unit 120 may have
   however, is not able to decrypt and/or read the message. The            software (e.g. , programs and apps) loaded thereon. The
   authorization     grant is in response to the authorization        40   phrase "loaded onto the hardware" also includes being
   request. The amount of the funds granted by the AuthGrant               loaded into memory (shown as the memory 760 in FIG. 20,
   may be determined by factors including, but not limited to,             the memory S60 in FIG. 21, and the memory 960 in FIG. 22)
   the amount of funds available (or, if funds are not available,          associated with or accessible by the hardware. The term
   a mini-loan could be granted), a pre-authorized amount (e.g. ,          "memory" is defined to include any type of hardware (or
   set by the server, set by the user during set-up, set by the       45   other technology)-readable media (also referred to as com-
   funding source, or a standard amount), limited by time (e.g. ,          puter-readable storage medium) including, but not limited
   only a certain amount per hour, or a predetermined amount               to, attached storage media (e.g. , hard disk drives, network
   at specific times of the day), limited to the maximum amount            disk drives, servers), internal storage media (e.g. , RAM,
   of an item on the machine (or enough for two or three items             ROM, EPROM, FLASH-EPROM, or any other memory
   in the machine), or one or more of these and other factors.        50   chip or cartridge), removable storage media (e.g. , CDs,
   Significantly, the AuthGrant makes the funds available, but             DVDs, flash drives, memory cards, floppy disks, flexible
   does not authorize a transaction. The AuthGrant may have                disks), firmware, and/or other known or yet to be discovered
   an associated expiration period in that it may expire if it is          storage media. Depending on its purpose, the memory may
   not used in a pre-determined time period. The length of time            be transitory and/or non-transitory. Appropriate "messages,   "
   before the AuthGrant expires may be determined by factors          55   "communications,   "                   "
                                                                                                 "signals, and/or "transmissions" (that
   including, but not limited to, the trustworthiness of the user          includes various types of information and/or instructions
   (e.g. , the user has a long history with the payment processing         including, but not limited to, data, commands, bits, symbols,
   system or some known provider (e.g. , credit card provider,             voltages, currents, electromagnetic waves, magnetic fields
   bank, or credit union), the user has a good credit rating, or           or particles, optical fields or particles, and/or any combina-
   the user has a large wallet balance), a pre-authorized time        60   tion thereof) over appropriate         "communication         "
                                                                                                                                    paths,
   period (e.g. , set by the server, set by the user during set-up,
                                                                                                  "
                                                                           "transmission paths, and other means for signal transmis-
   set by the funding source, or a standard time period), limited          sion including any type of connection between two elements
   by time (e.g. , predetermined time periods at specific times of         on the payment processing system (e.g. , the adapter module
   the day such as longer times during breakfast, lunch, and               100, the mobile device 150, the payment accepting unit 120,
   dinner), limited by the machine or the products or services        65   hardware systems and subsystems, and memory) would be
   sold in the machine, limited by the number of other users               used as appropriate to facilitate controls and communica-
   near the machine (e.g. , if it is a crowded machine, the                tions.
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                                    13                                                                     14
       It should be noted that the terms "programs" and "sub-               and short-range communications (shown as the short-range
   programs" are defined as a series of instructions that may be            communication capability S76 such as Bluetooth mecha-
   implemented as software (ke. computer program instruc-                   nisms) for communicating with the adapter module 100.
   tions or computer-readable         program code) that may be                When used in relation to "communications,       ""signals, "
                                                         "
   loaded onto a computer to produce a "machine, such that               5 and/or "transmissions,    "the terms "provide" and "providing"
   the instructions that execute on the computer create struc-              (and variations thereof) are meant to include standard means
   tures for implementing       the functions described herein or           of provision including "transmit" and "transmitting, but  "
   shown in the figures. Further, these programs and subpro-                can also be used for non-traditional provisions as long as the
   grams may be loaded onto a computer so that they can direct              "communications,    "           "
                                                                                                  "signals, and/or "transmissions" are
   the computer to function in a particular manner, such that the        10 "received" (that can also mean obtained). The terms "trans-
   instructions produce an article of manufacture including                 mit" and "transmitting" (and variations thereof' are meant to
   instruction structures that implement the function specified             include standard means of transmission, but can also be used
   in the flow chart block or blocks. The programs and sub-                 for non-traditional transmissions as long as the "communi-
   programs may also be loaded onto a computer to cause a                            "          "
                                                                            cations, "signals, and/or "transmissions" are "sent. The "
   series of operational steps to be performed on or by the              15 terms "receive" and "receiving" (and variations thereof) are
   computer to produce a computer implemented process such                  meant to include standard means of reception, but can also
   that the instructions that execute on the computer provide               be used for non-traditional methods of obtaining as long as
   steps for implementing the functions specified in the flow               the "communications,    "           "
                                                                                                     "signals, and/or "transmissions" are
   chart block or blocks. The phrase "loaded onto a computer"               "obtained.   "
   also includes being loaded into the memory of the computer            20    The term "associated" is defined to mean integral or
   or a memory associated with or accessible by the computer.               original, retrofitted, attached, connected (including function-
   Separate, albeit interacting, programs and subprograms may               ally connected), positioned near, and/or accessible by. For
   be associated with the adapter modules 100, the server 130,              example, if the user interface (e.g. , a traditional display 122
   and the mobile device 150 (including the mobile application              (FIG. 19), a touch screen display 124 (FIG. 19), a key pad
   140) and these programs and subprograms may be divided                25 126 (FIG. 19), buttons 126 (FIG. 19, shown as part of the
   into smaller subprograms to perform specific functions.                  key pad 126), a keyboard (not shown), and/or other input or
       The terms "messages,     "    "communications,  "            "
                                                            "signals,       output mechanism) is associated with a payment accepting
   and/or "transmissions" include various types of information              unit 120, the user interface may be original to the payment
   and/or instructions including, but not limited to, data, com-            accepting unit 120, retrofitted into the payment accepting
   mands, bits, symbols, voltages, currents, electromagnetic             30 unit 120, attached to the payment accepting unit 120, and/or
   waves, magnetic fields or particles, optical fields or par-              nearby the payment accepting unit 120. Similarly, adapter
   ticles, and/or any combination thereof. Appropriate technol-             modules 100 may be associated with payment accepting
   ogy may be used to implement the "communications,
                                                                    "       units 120 in that the adapter modules 100 may be original to
             "
   "signals, and/or "transmissions" including, for example,                 the payment accepting unit 120, retrofitted into the payment
   transmitters,    receivers, and transceivers. "Communica-             35 accepting unit 120, attached to the payment accepting unit
         "           "
   tions, "signals, and/or "transmissions" described herein                 120, and/or nearby the payment accepting unit 120.
   would use appropriate technology for their intended pur-
   pose. For example, hard-wired communications (e.g. , wired                                       System Overview
   serial communications) would use technology appropriate
   for hard-wired communications,          short-range communica-        40      FIGS. 5, 6, and 7 together show major components of the
   tions (e.g. , Bluetooth) would use technology appropriate for              mobile-device-to-machine     payment system and the interac-
   close communications,         and long-range communications                tions there-between.
   (e.g. , GSM, CDMA, Wi-Fi, or the like) would use technol-                     As shown, the adapter module 100 is functionally con-
   ogy appropriate for remote communications over a distance.                 nected bi-directionally to the payment accepting unit 120 via
   Appropriate security (e.g. , SSL or TLS) for each type of             45   a wired serial connection such that no security is necessary.
   communication is included herein. The security units 755                   The adapter module 100 is also functionally connected
   and 955 include technology for securing messages. The                      bi-directionally to the mobile device 150 (and its installed
   security technology may be, for example, encryption/de-                    mobile application 140) via short-range communication
   cryption technology (e.g. , software or hardware). Although                technology (e.g. , a Bluetooth connection). Because the
   encryption/decryption      is discussed primarily as being per-       50   mobile device 150 is not a "trusted" link (e.g. , it could be
   formed using a unique private key, alternative strategies                  hacked by a user), only secured communications (transmis-
   include, but are not limited to encryption/decryption          per-        sions) are passed between the adapter module 100 and the
   formed using public/private keys (ke. , asymmetric cryptog-                mobile device 150. This keeps communications secured and
   raphy), or other encryption/decryption        strategies known or          safe from hacking. The mobile device 150 (and its installed
   yet to be discovered. Appropriate input mechanisms and/or             55   mobile application 140) is also functionally connected bi-
   output mechanisms, even if not specifically described, are                 directionally to a system management server 130 and/or a
   considered to be part of the technology described herein.                  funding source server 160 via long-range communication
   The communications unit 770 (shown in FIG. 20) of the                      technology (e.g. , Wi-Fi or Cellular connection) that prefer-
   adapter module 100 is shown as including appropriate input                 ably has appropriate security (e.g. , SSL security). Security
   and output mechanisms 772, 774 that may be implemented                60   between the mobile device 150 and the system management
   in association (e.g. , directly or indirectly in functional com-           server 130 has the advantage of protecting communications
   munication) with male and female adapters 720, 730 of the                  from the mobile device 150 to the system management
   adapter module 100. The communications unit S70 (shown                     server 130 that may include sensitive data and may not be
   in FIG. 21) of the mobile device 150 includes mechanisms                   encrypted. The system management server 130 and the
   for both long-range communications (shown as the long-                65   funding source server 160 may be connected via a wired
   range communication capability S72 such as cellular and/or                 Internet connection with SSL security. The system manage-
   Wi-Fi mechanisms) for communicating with the server 130                    ment server 130 may be connected via a wired Internet
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                                15                                                                    16
   connection with SSL security to an operators' server 170.           for example, a MDB of a machine 120. The wire used in
   Although not necessary to implement a purchase transac-             MDB technology uses male and female connection ends or
   tion, for other purposes (e.g. , inventory), the operators'         adapters to allow the attachment of peripherals. In the case
   server 170 may be connected to the payment accepting unit           of a vending machine, the wire with the connection ends or
   120 using a handheld computer sync or a cellular connec-          6 adapters would be present to allow the attachment        of a
   tion.                                                               payment receiving mechanism (e.g. , a coin mechanism). The
      Also, a unique private key may be used to securely               MDB male and female adapters 700, 710 may be separated
   transmit encrypted messages between the adapter module              (as shown in FIGS. 17-1S). The adapter module 100a in
   100 and the system management server 130 (although the              FIGS. 11 and 17-1S has a male adapter 720 and a female
   encrypted transmissions       would most likely be routed        10 adapter 730. The adapter module 100a may be plugged
   through the mobile device 150). The server 130 stores a             (inserted) in serial ("in-line" ) with the wire. For example,
   private key for each adapter module 100, and this key is only       the MDB female adapter 710 may be connected to the male
   known to the adapter module 100 and the server 130. No              adapter 720 of the adapter module 100 and the MDB male
   intermediary is privy to this key (especially not the mobile        adapter 700 may be connected to the female adapter 730 of
   device 150). When the adapter module 100 and the server          16 the adapter module 100. The resulting in-line configuration
   130 communicate messages (e.g. , AuthRequest and Auth-              is shown in FIG. 19. It should be noted that the adapter
   Grant), the security unit 755 of the adapter module 100             modules 100 are designed to allow pass-through communi-
   encrypts the message with its private key and passes the            cations so that if the mobile-device-to-machine      payment
   message to the mobile device 150. The mobile device 150             processing system is not enabled (e.g. , for a particular
   (which preferably cannot decrypt the message) passes the         20 purchase or simply turned o@ the MDB functions as though
   encrypted message to the server 130. The server 130 is able         the adapter module 100 is not there and the machine 120 can
   to decrypt the message using the security unit 955 of the             function normally.
   adapter module 100 and the unique private key. The security
   unit 955 of the server 130 uses this same unique private key                               Hands-Free Mode
   to encrypt messages to the adapter module 100 and sends the      26
   message to the mobile device 150 to relay to the adapter                 Summarily, if it is available, a hands-free mode, from the
   module 100 that is able to decrypt the message using the              user's perspective, would allow the user to approach a
   security unit 755 of the adapter module 100 and the unique            favorite payment accepting unit 120 and notice that the
   private key.                                                          display (e.g. , the displays 122 or 124 shown in FIG. 19)
      FIG. 7 shows specific communications and messaging            30   associated with the payment accepting unit 120 shows funds
   with a vending sequence (the numbers to the left of the               available (e.g. , the wallet balance), he would select the
   communications and messaging) between the adapter mod-                product or service using input mechanisms (e.g. , buttons 126
   ule 100, the mobile device 150, and the system management             or a touch screen display 124 shown in FIG. 19) associated
   server 130. These communications are discussed in more                with the payment accepting unit 120, and he would retrieve
   detail in the discussion pertaining to the schematic flow        36   his dispensed services or products.
   diagrams (FIGS. SA-SG) and the flow charts (FIGS. 9A-9E).                During an initial handshake with the mobile device 150
      It should be noted that FIGS. 5, 6, and 7 are examples, and        (when the user is within range), the adapter module 100
   are meant to help in the understanding of the mobile-device-          reports to the mobile device 150 whether or not hands-free
   to-machine payment system. For example, the shown long-               mode is available. If it is available, the installed mobile
   range communications       technology may be replaced with       40   application 140 automatically       connects to the payment
   alternative long-range communications technology known                accepting unit 120 without the user having to interact with
   or yet to be discovered, the shown short-range communica-             the mobile device 150. The user observes that funds are
   tion technology may be replaced with alternative short-range          available on the display 122, 124 of the payment accepting
   communication technology known or yet to be discovered,               unit 120 and completes the purchase transaction as if cash
   and the shown security may be replaced with alternative          46   was inserted in the machine 120 by inputting his selection on
   security known or yet to be discovered. The shown connec-             the payment accepting unit 120. The payment accepting unit
   tions are meant to be examples, and there may be interme-             120 dispenses the product or service. After the selection is
   diaries that are not shown. The shown components have                 made, the change is returned to the mobile device 150.
   been simplified in that, for example, only one mobile device             Whether hands-free payment is available is determined by
   150 (or machine 120, adapter module 100, or server 130) is       60   factors including, but not limited to, whether other mobile
   shown where many may be included. Finally, the order of               devices 150 are in range, if other adapter modules 100 are
   the steps may be changed and some steps may be eliminated.            in range, if there are any alerts, if the payment trigger
                                                                         threshold is having wide variances and so deemed unstable,
                         Adapter Module                                  or if the payment accepting unit operator (e.g. , a vending
                                                                    66   machine operator) has opted to disable hands-free mode for
      FIGS. 11-1S show views of adapter module 100a (re-                 the payment accepting unit 120. In the latter instance,
   ferred to generally as adapter module 100). Adapter module            operators can disable via a maintenance mobile device 150,
   100 is a relatively low cost hardware component that is               as well as through the operators' server 170 and/or the
   pre-configured to work with the industry standard multi-              system management server 130.
   drop bus (MDB). On machines without MDB technology, 60                   FIG. 3 is a table that shows considerations, conditions, or
   the adapter module 100 can be configured or designed to               factors that may be used to determine whether the hands-free
   work with other serial protocols or activate a switch. In             pay feature is available. Starting at the "Favorite?" column,
   essence the adapter module 100 simulates establishing pay-            this indicates whether the payment accepting unit 120 is a
   ment on payment accepting unit 120 in much the same                   favorite machine. Preferably the hands-free pay feature is
   manner as other alternative forms of payment (e.g. , cash). 66        only available for use with "favorite" payment accepting
      The shown adapter modules 100 are preferably designed              units 120 (e.g. , a vending machine at work or school). The
   to be used as an in-line dongle for in-line insertion within,         "Alert" column has to do with whether there is some reason
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                                  17                                                                       18
   (e.g. , there are too many users in range) that the hands-free             balance ($2.00) is technically stored on the server 130, and
   pay feature should not work and, if there is such a reason, the            may be reflected on the application 140 on the mobile device
   user will be notified (alerted) and may be able to use the                 150.
   manual mode to resolve the alert and/or complete the
   transaction. FIG. 3 shows situations in which a user is or is         5                      Multiple Distinct Zones
   not able to make hands-free purchases from a machine 120
   using a mobile application 140 on his mobile device 150. It                   As shown in FIGS. 1-2, the functions performed by the
   should be noted that the shown interface is an example. For                adapter module 100 can be divided into distinct zones: a first
                                                                              "communication zone" (e.g. , "Bluetooth range" 106), a
   example, some of the features could be automated or pre-
                                                                         10   second "authorization zone" 104, and a third "payment
   selected. (It should be noted that the left hand column, the
   "Tab" column, relates to whether the selected tab on the                   zone" 102. The payment zone 102 is smaller than or equal
                                                     "
   mobile application 140 is "all" or "favorite. FIGS. 10A-
                                                                              to (overlapping completely) the authorization zone 104. Put
                                                                              another way, the payment zone 102 is within or coextensive
   10D all show these tabs. Unlike the other columns in FIG.                  with the authorization zone 104. The payment zone 102 is a
   3, this column has more to do with the functionality and              15   subset of the authorization zone 104 with a ratio of the
   view of the application 140 than specifically with the                     payment zone 102 to the authorization zone 104 ranging
   hands-free feature. The tabs would allow a user to select                  from 0.01:I to I:l. It is not necessarily a fixed ratio and can
   whether he wanted to be alerted when he was in range of all                vary between difl'erent payment accepting units 120, difler-
   payment accepting units 120 or just "favorite" payment                     ent mobile devices 150, diflerent users, and over time. While
   accepting units 120 and the application 140 would show the            20   the zones 102, 104, 106 are depicted as having a uniform
   appropriate view. )                                                        shape, the zones may not necessarily be uniform (or constant
       Balance Display: An optional feature of the mobile-                    over time) in that the shape can vary. For example, the shape
   device-to-machine payment system that is particularly help-                of the Bluetooth range 106 may vary depending on envi-
   ful in the hands-free mode (although it may be available in                ronmental conditions such as obstacles in the room and
   the manual mode and/or in a multiple-vend             scenario) is    25   payment accepting unit 120 door/wall materials.
   when the user's mobile device 150 sends "credit" to the                       Bluetooth Range 106 (sometimes also herein called the
   payment accepting unit 120 (either via hands-free payment                  "communication zone"): The outermost range is the Blu-
   or through a manual swipe), the wallet balance is sent to the              etooth range 106 (shown in FIGS. 1-2). This is the area in
   payment accepting unit 120 that is then displayed to the user              which the adapter module 100 is able to broadcast its
   on a display 122, 124 of the machine 120. This is particu-            30   presence. In most situations, the Bluetooth range 106 is a
   larly beneficial during hands-free mode when the user does                 passive range in that no actual data is exchanged between the
   not retrieve the mobile device 150 and, therefore, may not                 mobile device 150 and the adapter module 100. While in the
   know the balance. Also, in a multiple-vend scenario the user               Bluetooth range 106, the mobile device 150 monitors the
   would not have to calculate a remaining balance.                           RSSI (Received Signal Strength Indicator).
      An example of a hands-free, multiple-vend               scenario   35      Authorization Zone 104: The middle region is the autho-
   where a balance is displayed by the payment accepting unit                 rization zone 104 (shown in FIGS. 1-2). This is a computed
   120, follows: The user has $5.00 in his/her virtual wallet as              area based on the RSSI. As mentioned, the mobile device
   that is the amount that has been authorized (the AuthGrant                 150 monitors the RSSI while it is in the Bluetooth range 106.
   being stored on the mobile device 150). The user walks up                  When the RSSI reaches a certain predetermined threshold
   to the payment accepting unit 120 and $5.00 is displayed on           40   based on In-Range Heuristics, the mobile device 150 can be
   the display 122, 124 of the payment accepting unit 120 since               considered to be in the authorization zone 104. In the
   hands-free mode was enabled and credit was sent (e.g. , via                authorization zone 104 the mobile device 150 establishes a
   the short-range communication capability) to the payment                   connection to the adapter module 100 (e.g. , a Bluetooth
   accepting unit 120. The user makes a selection of $1.50 by                 connection (FIG. 5) with SSL protection (FIG. 6)) and
   interacting (e.g. , pressing buttons) with the machine 120.           45   informs the adapter module 100 of its presence. After a
   The item (product or service) is dispensed and the "change"                successful handshake with the adapter module 100, the
   is "returned" (e.g. , via the short-range communication capa-              mobile device 150 registers the adapter module 100 and the
   bility) to the virtual wallet. But since the user is still standing        adapter module 100 requests an authorization to the server
   in the payment zone 102, the remaining wallet balance of                   130 via the mobile device's network connection (e.g. , a
   $3.50 is sent to the payment accepting unit 120 and dis-              50   Wi-Fi or cellular connection (FIG. 5) with SSL protection
   played so that the user can now see that he/she has a $3.50                (FIG. 6)). It is important to note the mobile device 150 and
   balance. (It should be noted that the authorized funds may                 the adapter module 100 have a non-exclusive relationship at
   remain on the machine 120 and not be transferred back to the               this point. The adapter module 100 may collect registrations
   mobile device 150 between transactions. ) The user decides                 for all mobile devices 150 that are within the authorization
   to purchase a $1.50 item, and the transaction is completed as         55   zone 104.
   usual (e.g. , by interacting with the machine 120). Now the                   An authorization occurs in preparation for when the user
   user is still standing in the payment zone 102 and he/she sees             enters the payment zone 102 (shown in FIGS. 1-2). An
   the wallet balance of $2.00 on the display 122, 124 of the                 authorization expires in a set period of time (for example,
   payment accepting unit 120. The user decides that he/she                   five minutes), so if the mobile device 150 is still in the
   does not wish to purchase anything else and simply walks              60   authorization zone 104 at the time of expiration, the adapter
   away. As he/she walks out of the payment zone 102, the                     module 100 submits for and receives another authorization.
   credit is cleared from the machine 120, but he/she is left with            This will continue for a set number of times (for example,
   the knowledge that his wallet balance is $2.00 even though                 the limit may be three times to limit cases of numerous
   he/she never touched the mobile device 150. Communica-                     authorizations for a mobile device that may remain in the
   tions between the payment accepting unit 120 and the                  65   authorization zone 104 for an extended period of time
   adapter module 100 (via the mobile device 150) handle the                  without completing a transaction). Should authorization fail
   accounting incidental to the transaction. The remaining                    (for instance if the limit had been reached) prior to the user
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   entering the payment zone 102, the adapter module 100 will              RSSI using various mathematical       models. This "average"
   request authorization when the mobile device 150 enters the             could be a traditional average, a moving average, a weighted
   payment zone 102 (which adds a few seconds to the expe-                 average, a median, or other similar summary function. The
   rience).                                                                adapter module 100 could pre-process the historical data
     Payment Zone 102: As a user enters the payment zone              5    before running the function, such as to eliminate top and
   102, the mobile device 150 establishes exclusive control of             bottom data points, suspect data points, etc.
   the adapter module 100. Once established, any other user in                Optionally, during the handshake between the mobile
   the payment zone 102 is put into a "waiting" status.                    device 150 and the adapter module 100, the information
       In the payment zone 102, the payment can be triggered               transmitted to the adapter module 100 may include, for
   automatically if the payment processing system has and is in       10   example, the model of the mobile device 150. Using the
   hands-free mode. In such instances, the mobile device 150               received information pertaining to the mobile device mod-
   is running the application 140 in background mode and will              els, the adapter module 100 can create multiple payment
   send credit to the payment accepting unit 120 without any               thresholds, one for each mobile device model. This allows
   explicit user interaction. The user completes the transaction           for variances that may be inherent in difi'erent types of
   on the payment accepting unit 120 in much the same manner          15   Bluetooth radios. An alternative to this method is for the
   as if cash had been inserted into the payment accepting unit            adapter module 100 to broadcast a baseline payment zone
   120 to establish credit. After the user completes the trans-            threshold, and the mobile device 150 can use an ofi'set from
   action (that may include one or more purchases), details of             this baseline based on its specific model type. The payment
   the transaction are preferably returned to the mobile device            zone thresholds (or baseline ofi'sets) can be unique to spe-
   150 and server 130 in separate messages. The message to the        20   cific types of mobile devices (e.g. , by manufacturer, oper-
   server 130 is preferably encrypted with the adapter module' s           ating system, or component parts), models of mobile
   100 private key (FIG. 6) to ensure data integrity. As shown             devices, or individual mobile devices (unique to each user).
   in FIG. 7, the "private key" coded message (Encrypted                      In a typical scenario in which the payment zone threshold
   VendDetails) is preferably sent via the mobile device 150.              has been calibrated, the adapter module 100 advertises its
   The message to the mobile device 150 may be sent solely for        25   presence along with the threshold at which it considers any
   the purpose of closing the transaction. The transaction                 mobile device 150 to be in the authorization zone 104. This
   history and balance are updated server-side via the                     is a one-way communication from adapter module 100 to
   encrypted message sent to the server 130.                               mobile device 150. Once the mobile device 150 enters the
       The other mode of operation is manual mode. In manual               authorization zone 104, there is a handshake that is estab-
   mode, the user launches the mobile device 150 and is able          30   lished between the adapter module 100 and the mobile
   to swipe to send payment to the payment accepting unit 120.             device 150. During this handshake, the mobile device 150
   The user can also swipe back to cancel the payment. Like in             can share its model information with the adapter module
   hands-free mode, the purchase transaction is completed on               100, and the adapter module 100 can return the payment
   the payment accepting unit 120 in the same manner as if                 zone 102 threshold for that specific model.
   cash were inserted into the payment accepting unit 120. The        35      Optionally, in addition to calibrating the payment zone
   mobile device 150 is only used to send payment. Selection               threshold, the adapter module 100 can apply the self-
   is made directly on the payment accepting unit 120.                     calibrating model to the authorization zone 104 to calibrate
       Self-Calibrating Zone Threshold: A key, but optional                the authorization zone threshold. As with the payment zone
   feature, of the payment processing system is a self-calibrat-           thresholds, the authorization zone thresholds can be unique
   ing payment zone RSSI threshold. Because RSSI can vary             40   to specific types of mobile devices, models of mobile
   machine to machine, environment           to environment,    and        devices, or individual mobile devices. In this scenario, the
   device to device, having a fixed threshold at which payment             adapter module 100 would broadcast multiple thresholds by
   is triggered can be problematic. The approach suggested                 device type and the mobile device 150 would determine
   herein is the creation of a self-calibrating threshold. When            which threshold to apply (or alternatively broadcast a base-
   the user is interacting with the payment accepting unit 120        45   line and the mobile device 150 uses an ofi'set based on its
   (such as when he makes his selection on the payment                     device model). Even in this scenario, the authorization zone
   accepting unit 120), the payment accepting unit 120 notifies            104 is a one-way communication.
   the adapter module 100 and the adapter module 100 logs the                 Optionally, along with the threshold that is calculated (in
   conditions such as RSSI, type of user mobile device 150,                the payment and/or the authorization zone(s)), a safety
   accelerometer data, and other information. It is at this point     50   margin can be added to minimize scenarios in which a user
   that it can be ascertained safely that the user is within               is within range, but the mobile-device-to-machine     payment
   arm' s-length from the payment accepting unit 120 (by                   processing system does not recognize it because the thresh-
   necessity the user is arm' s-length because he is making                old may not have been reached. For example, if the calcu-
   some physical interaction with the payment accepting unit               lated RSSI for an iPhone™    5 on machine 4567 is —68 db, the
   120). This is the only point in the entire transaction in which    55   mobile-device-to-machine     payment processing system may
   it can be certain that the user is within arm' s-length from the        add a safety margin of —5 db, and establish the threshold at
   payment accepting unit 120.                                             —73 db. So when a user's phone is communicating with the
       FIG. 4 shows a simplified set of steps involved when users          adapter module 100 at an RSSI of —73 db or better, the
   enter the payment zone 102. Specifically, FIG. 4 shows that             mobile-device-to-machine     payment processing system will
   credit is established 200 (this may have been done in the          60   allow the mobile device 150 to credit the payment accepting
   authorization zone 104, but if not it would be handled in the           unit 120. The safety margin can be set on the server 130 and
   payment zone 102), that the user makes a selection using the            downloaded to the adapter module 100, or set on the mobile
   machine 202, that the machine notifies the adapter module               device 150, or set on the adapter module 100 itself.
   of the selection 204, that the adapter module (optionally)                 Optionally, in the payment zone threshold, the mobile
   logs the RSSI 206, and that the purchase process(es) con-          65   device 150 can use other data to determine when to cancel
   tinues 208. Using the historically logged RSSI data, the                the exclusive control of the payment accepting unit 120, to
   adapter module 100 calculates one of several "average"                  identify when the user is moving out of the payment zone
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   102. External data could include accelerometer data from the             coverage within the zones 102, 104, 106. The user can then
   mobile device 150. Using that data, the mobile device 150                obtain pre-authorization    from the server 130 using the
   can determine whether the user is standing relatively still in           mobile application 140. Again, the timing would also have
   front of the payment accepting unit 120, or if the user is in            to be adjusted so that the authorization of funds (AuthGrant)
   motion     efi'ectively walking away from the payment                    does not expire before the user has a chance to make a
   accepting unit 120.                                                      purchase. It also means that balance updates to the server
                                                                            130 may happen after the user has moved away from the
                 Signal Unavailability   Adaptation                         machine 120 and has cellular or Wi-Fi coverage again. A
                                                                            mobile-device-to-machine     payment system having the abil-
      The mobile-device-to-machine         payment processing sys-     10   ity to implement this option would be able to accept cashless
   tem described herein uses a mobile device's 150 short-range              payments without requiring any network connection near the
   communication technology (e.g. , Bluetooth mechanisms)                   payment accepting unit 120. In some implementations,        the
   (shown as short-range communication            capability S76 in         mobile-device-to-machine       payment    processing   systems
   FIG. 21) and a mobile device's 150 long-range communi-                   described herein is located in a remote location where no
   cations technology (e.g. , cellular and/or Wi-Fi mechanisms)        15   signal is available, but can still accept cashless payments.
   (shown as long-range communication capability S72 in FIG.                   As an example of a situation in which there might be no
   21). The short-range communication capability S76 com-                   cellular or Wi-Fi coverage within any of the zones 102, 104,
   municates with the adapter module's 100 short-range com-                 106 of a particular payment accepting unit 120, the user (a
   munication     technology      (e.g. , Bluetooth mechanisms)             teenager) may be traveling to a remote location to attend
   (shown as short-range communication            capability 776 in    20   summer camp where there is no cellular or Wi-Fi coverage.
   FIG. 20). The long-range communication capability S72                    The camp may have several payment accepting units 120
   communicates with the server's 130 long-range communi-                   (e.g. , a machine that creates a dedicated "hot spot" that
   cations technology (e.g. , cellular and/or Wi-Fi mechanisms)             requires payment for use, vending machines, or machines
   (shown as long-range communication capability 972 in FIG.                for renting equipment such as bikes, kayaks, or basketballs).
   22). The mobile device 150 (with a mobile application 140           25   The camp facility might notify parents that the mobile-
   thereon) acts as a communication            bridge between the           device-to-machine payment system is available. The par-
   adapter module 100 (associated with a payment accepting                  ents, while at home, could obtain authorization for a par-
   unit 120) and the server 130. This process is described herein           ticular amount (that could be doled out a certain amount per
   and works properly if there is cellular or Wi-Fi coverage                day or limited to type of machine or location) to be autho-
   within the payment zone 102.                                        30   rized and "loaded" into the user's mobile device 150 and
      One option if there is no cellular or Wi-Fi coverage within           specify that the authorization will not expire for a certain
   the payment zone 102 is to determine whether there is                    period or until a certain date. Thereafter, while at camp, the
   cellular or Wi-Fi coverage within the authorization zone 104             user could use the mobile application 140 on his mobile
   or the Bluetooth range 106. If there is, then the sizes of the           device 150 in a manner similar to those discussed elsewhere
   zones 102, 104, 106 could be adapted and the timing could           35   herein. Short-range communications may be used for com-
   be adapted. For example, if the mobile devices 150 detected              munications between the adapter modules 100 (associated
   problems with the cellular or Wi-Fi coverage within the                  with the machines 120) and users' mobile devices 150.
   payment zone 102, the user could carry his mobile device                    One subtle but powerful component of the payment
   150 into the other zones (or the mobile device 150 could use             processing system described herein is that it requires a
   short-range communication          technology to communicate        40   long-range communication capability (e.g. , an Internet or
   with other mobile devices 150 within the authorization zone              cellular network connection) only in the authorization zone
   104 or the Bluetooth range 106) to determine whether the                 104 and only for the time period required to send the
   zones have cellular or Wi-Fi coverage. If they do have                   AuthRequest and receive the AuthGrant. Once a valid Auth-
   coverage, communication between the mobile device 150                    Grant is received by the mobile device 150, the long-range
   and the server 130 can be advanced (conducted earlier when          45   communication capability (e.g. , an Internet or cellular net-
   the mobile device 150 is further from the machine 120) or                work connection) is not required by either the mobile device
   delayed (conducted later when the mobile device 150 is                   150 or the adapter module 100 in the payment zone 102 as
   further from the machine 120). This can be thought of as                 long as the AuthGrant is valid (unexpired). This mechanism
   changing the size or shapes of the zones 102, 104, 106. The              allows the system to seamlessly handle authenticated trans-
   timing would also have to be adjusted so that the authori-          50   actions in (temporary) ofiline mode, with the deferred
   zation of funds (AuthGrant) does not expire before the user              acknowledgement and transaction messages performing the
   has a chance to make a purchase. It also means that balance              bookkeeping and cleanup when network connection is
   updates to the server 130 may happen after the user has                  regained. The alternatives described above provide a unique
   moved away from the machine 120 and has cellular or Wi-Fi                way to artificially extend the authorization zone to include
   coverage again.                                                     55   any location where the mobile device 150 can communicate
      Another option if there is no cellular or Wi-Fi coverage              with the server 130.
   within any of the zones 102, 104, 106 is for the user to obtain
   authorization while outside of the zones in a place with                                   Multiple User Resolution
   cellular or Wi-Fi coverage. This may occur, for example, if
   a user knows that he will be going to a place with a payment        60    As shown in FIG. 2, in one practical scenario, multiple
   accepting unit 120 equipped with an adapter module 100                 users are in the zones 102, 104, 106. As shown in FIG. 2,
   (perhaps to a favorite payment accepting unit 120) that does           users 1,2, and 3 are in the payment zone 102 near the
   not have (or rarely has) cellular or Wi-Fi coverage. A user            machine 120; users 5 and 6 are shown as positioned between
   may also use the mobile application 140 to query payment               the authorization zone 104 and the Bluetooth range 106;
   accepting units 120 in a given range (e.g. , within 50 miles)       65 users 4 and 7 are in the Bluetooth range 106, user 10 is
   or at a given location (e.g. , at a campground or in a particular      positioned on the edge of the Bluetooth range 106; and users
   remote city) to determine whether there is cellular or Wi-Fi           S and 9 are positioned outside of Bluetooth range 106. In
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   some implementations,       the mobile-device-to-machine    pay-        nected" and the first to swipe payment to the payment
   ment processing system manages and resolves issues per-                 accepting unit 120 then locks out other users.
   taining to multiple users.
      Users 4 and 7 are within the Bluetooth range 106 and the                             Multiple Module Resolution
   user 10 is either entering or leaving the Bluetooth range 106.     6

   Within the Bluetooth range 106 the users' mobile devices                   In the scenario where there are multiple modules present,
   150 are able to see the adapter module's 100 advertisement.             determining which payment accepting unit 120 a user is in
   In this zone, the mobile device 150 preferably does not                 front of can be a challenge. In some implementations,       the
   initiate a connection. The adapter module 100 is preferably             mobile-device-to-machine        payment   processing    system
   unaware of the users in the Bluetooth range 106. All the
                                                                      10   described herein allows adapter modules 100 to communi-
   adapter module 100 is doing is advertising its presence to
                                                                           cate to other adapter modules 100 in range via Bluetooth.
                                                                           Each user receives authorization grants for specific payment
   any multitude of users that may be in Bluetooth range 106.
                                                                           accepting units 120. This means if there are multiple adapter
      The adapter module 100 begins to log users as the users
                                                                           modules 100 within the same authorization zone 104, there
   (and their respective mobile devices 150) enter the autho-         16   will be multiple authorization grants for the user. When the
   rization zone 104 (shown in FIG. 2 as users 5 and 6). At this
                                                                           user enters the payment zone 102, it can be difficult to
   point, there is a non-exclusive connection initiated by the             difl'erentiate which payment accepting unit 120 the user is in
   mobile device 150 to the adapter module 100. It does a                  front of if the payment zones 102 overlap.
   handshake (e.g. , to exchange information needed to obtain                 To solve this problem, when the user enters the payment
   authorization and, optionally, to log information needed for       20   zone 102, the adapter modules 100 communicate with each
   a self-calibrating authorization     zone threshold) and the            other to determine the RSSI for the particular user (based on
   mobile device 150 contacts the server 130 for an authori-               the signal from his mobile device 150) to triangulate which
   zation (e.g. , sending an AuthRequest and receiving an Auth-            adapter module 100 (and the associated payment accepting
   Grant). The adapter module 100 registers all mobile devices             unit 120) is closer to the user. Optionally, the inter-module
   150 that have requested and received AuthGrants. The               26   communications      can restrict the user to establishing an
   adapter module 100 continues communicating             with any         exclusive connection with only one payment accepting unit
   other mobile device 150 that enters the authorization zone              120.
   104. After initial contact, the adapter module 100 may                   Optionally, when the user connects to a payment accept-
   provide the mobile device 150 with a deferral delay of when           ing unit 120, the mobile device 150 can send a communi-
                                                                      30 cation to the payment accepting unit 120 for momentary
   to check back in with the adapter module 100 allowing
   opportunity for other mobile devices 150 to communicate               display to the user on the display 122, 124 of the payment
   with the adapter module 100.                                          accepting unit 120. For example, the mobile device 150 can
                                                                         send a communication (e.g. , "connected" or "Fred's Mobile
      If there is only one user in the payment zone 102, a
                                                                         Device Connected" ) to the payment accepting unit's display
   purchase transaction may be performed. If there are multiple       36 122, 124 for a predetermined      period of time (e.g. , 1-3
   users in the payment zone 102, the mobile-device-to-ma-
                                                                         seconds) so when the user is in payment zone 102, it is clear
   chine payment system must handle the situation.
                                                                         which payment accepting unit 120 the user is connected to
      One optional solution for handling the situation of the            prior to making a purchase (either in hands-free or manual
   multiple users in the payment zone 102 is queuing users in              mode).
   the payment zone 102. Once any mobile device 150 enters            40     In addition, when the user is in manual mode, the mobile
   the payment zone 102, it establishes exclusivity to a par-              device 150 can display (e.g. , on the touch screen 152 as
   ticular mobile device 150 (e.g. , in a first-come-first-serve         shown in FIGS. 10A-10D) a visual indication of the pay-
   manner). Technically, however, the adapter module 100 is              ment accepting unit 120 (e.g. , a picture and/or a payment
   not establishing an exclusive connection to the mobile                accepting unit ID of the payment accepting unit 120) for
   device 150. The adapter module 100 can still perform a             46 visual confirmation. If the user is in manual mode, the user
   round-robin poll and communicate with and advertise to                can manually change the payment accepting unit 120.
   other mobile devices 150. Instead, the adapter module 100
   establishes a queue prioritized by RSSI and time (e.g. , who                                Descriptive Scenario
   was first and whether the authorization has expired) and it
   notifies (e.g. , alerts) other mobile devices 150 to wait. The     60    FIG. 7, FIGS. SA-SG, and 9A-9E (as well as other figures)
   earliest valid (unexpired) authorization takes precedence             can be used to understand a detailed scenario of the mobile-
                                                                         device-to-machine payment processing system described
   when there is any tie in the RSSI. Otherwise, for example,
                                                                         herein. A flow of communications       and steps are loosely
   the strongest average RSSI takes priority. Preferably the
                                                                         described below with reference to these (and other figures).
   queue is not a static measure of the RSSI but an averaged
                                                                      66 It should be noted that alternative scenarios could include,
   measure over the period of time in the queue. This compen-            for example, a modified order of the steps performed.
   sates for a scenario in which a user may be walking around               Prior to vending transactions, a user downloads a mobile
   in the queue and then shows up at the payment accepting               application 140 onto his mobile device 150, creates an
   unit 120 just as the previous user is finishing. If another user      account, and configures a funding source via, for example,
   was also in the payment zone 102 and stood there the entire        60 a funding source server 160. A funding source may be, for
   time, but may have newer authorization, he could win out.             example, a debit card, a credit card, campus cards, rewards
      Anytime that the adapter module 100 cannot determine               points, bank accounts, payment services (e.g. , PayPal™)   or
   exactly which user is in the payment zone 102 in front of the         other payment option or combination of payment options
   payment accepting unit 120, the adapter module 100 will               known or yet to be discovered. The funding sources may be
   disable hands-free payment. The mobile device 150 will             66 traditional  and/or nontraditional payment sources that are
   send an alert to the user and he can use swipe to pay (manual         integrated into the ecosystem described herein and then used
   mode). All users in payment zone 102 will show "Con-                  indirectly as a source of funds. Funds from the funding
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                                25                                                                     26
   source are preferably held on the server 130 such that when           initiate a transaction. The mobile device 150 may issue the
   an AuthRequest is received by the server 130, the server 130          AuthGrant automatically without specific user interaction if
   can send an AuthGrant authorizing funds for a purchase.               the hands-free mode is supported (and the device is a
       The user can specify one or more "favorite" adapter               favorite (block 31S), there is only one device in the payment
   module(s) 100 (that has a one-to-one relationship to the         3    zone 102 (block 31S), and (optionally) there is only one user
   payment accepting unit 120) that he may visit regularly, such         in the authorization zone 104 (block 320)). If any of these
   as a vending machine at school or work. Favorite adapter              factors are not present, the mobile device 150 will prompt
   modules 100 appear on a pre-filtered list and allow for               and/or wait for the user to begin the transaction manually
   additional rich features such as hands-free payment.                  (block 324).
       The payment accepting unit 120 may be equipped with an       10       FIGS. SD, 9C, and 9D generally show the transaction
   adapter module 100 that is constantly advertising its avail-          process. As shown in FIG. 9C, the adapter module 100 runs
                                           "
   ability via Bluetooth (or other "signals, "communications,
                                                               "         through a series of questions to determine if there are any
   and/or "transmissions"). This ongoing advertising and scan-           issues that would prevent vending including: has the user
   ning for adapter modules is shown in FIG. SA. As shown, the           canceled in-app? (block 326), has the user walked away?
   mobile device 150 is continuously scanning for any adapter       13   (block 32S), is the coin return pressed? (block 330), has
                                                     "
   module 100 within Bluetooth (or other "signal, "commu-                more than a predetermined period of time elapsed? (block
            "
   nication, and/or "transmission") range. When the user is              332). If the answer to any of these questions is "yes, the"
   within range of that adapter module 100, the mobile device            transaction does not proceed. If the answers to all of these
   150 tracks and monitors the signal strength until a prede-                             "
                                                                         questions is "no, the user makes a selection (block 334) on
   termined "authorization zone" threshold is achieved.             20   the payment accepting unit 120 in the same or similar
       FIGS. SB and 9A generally show that when the authori-             manner as compared to if cash or credit were presented to
   zation zone threshold is reached, the mobile device 150               the payment accepting unit 120. If the machine 120 is able
   enters the authorization zone (block 302) and registers the           to vend (block 336), it attempts to release the product. If the
   adapter module 100. The mobile device 150 connects to the             vend fails (block 33S) it is reported by the machine (block
   server 130 (block 304). The application 140 on the mobile        23   340) and a credit is returned to the virtual wallet (block 342).
   device 150 creates a request for authorization (AuthRequest)          If the vend is successful (block 33S) it is reported by the
   and passes the AuthRequest to the server 130 using appro-             machine (block 344). Put another way, after the transaction
   priate communication technology (e.g. , GSM, CDMA, Wi-                is complete, the adapter module 100 returns to the mobile
   Fi, or the like) (block 306). The server 130 responds with an         device 150 the details of the transaction as well as an
   authorization grant (AuthGrant) encrypted with the specific      30   encrypted packet containing the vend details to be sent to the
   adapter module' s private key (block 306). This authorization         server 130 via the mobile device 150. Optionally, the adapter
   token may minimally include the User identifier (ID), Appa-           module 100 can pass additional information not directly
   ratus ID (for the adapter module 100), authorization amount,          related to the transaction such as payment accepting unit
   and expiration time. The mobile device 150 receives the               health, sales data, error codes, etc.
   AuthGrant from the server 130, and retains it until the          33       FIGS. SD and 9E generally show the multi-vend function.
   mobile device 150 is ready to issue payment to an adapter             If the machine has enabled multi-vend capabilities (block
   module 100. The mobile device 150 collects all pending                350) and the multi-vend limit has not been reached, the
   AuthGrants that may be one or more depending on how                   process returns to the question of whether the user is in the
   many adapter modules 100 are in-range. Unused AuthGrants              payment zone (block 310 of FIG. 9A). If the machine does
   that expire are purged from the mobile device 150 and the        40   not have enabled multi-vend capabilities (block 350) or the
   server 130. It is important to note that the mobile device 150        multi-vend limit has been reached, the wallet is decremented
   is unable to read the AuthGrant because it is encrypted with          by the vend amount(s) and "change" is returned to the virtual
   the adapter module's unique private key that is only known            wallet (block 354) and the process ends (block 356).
   to server 130 and adapter module 100. This provides a                     FIG. SE is a schematic flow diagram of an example login
   preferred key element of security in the system as the           43   process. FIG. SF is a schematic flow diagram of an example
   adapter module 100 only trusts AuthGrants that are issued             boot-up process. FIG. SG is a schematic flow diagram of an
   by the server 130, and the AuthGrants cannot be read or               example account check/update process.
   modified by the mobile device 150 or any other party in                   Several of the figures are flow charts (e.g. , FIGS. 9A-9E)
   between the server and the adapter module 100. Additional             illustrating methods and systems. It will be understood that
   mobile devices 150 may enter the authorization zone 104          30   each block of these flow charts, components of all or some
   (block 30S).                                                          of the blocks of these flow charts, and/or combinations of
       As the user approaches a specific adapter module 100, the         blocks in these flow charts, may be implemented by software
   user enters the payment zone 102 and an event threshold is            (e.g. , coding, software, computer program instructions, soft-
   triggered based on heuristics performed by the mobile                 ware programs, subprograms, or other series of computer-
   device 150. Blocks 310 and 312 show the loop steps of            33   executable or processor-executable instructions), by hard-
   waiting for a mobile device 150 from the authorization zone           ware (e.g. , processors, memory), by firmware, and/or a
   104 to enter the payment zone 102. If the user leaves the             combination of these forms. As an example, in the case of
   authorization zone 104 without entering the payment zone            software, computer program instructions (computer-read-
   102, the adapter module 100 returns to advertising its              able program code) may be loaded onto a computer to
   presence (block 300).                                            60 produce a machine, such that the instructions that execute on
       FIGS. SC and 9B generally show the user entering the            the computer create structures for implementing the func-
   payment zone. The mobile device 150 verifies that it has an         tions specified in the flow chart block or blocks. These
   unexpired and valid AuthGrant. If the AuthGrant is not              computer program instructions may also be stored in a
   good, it may be requested again, repeating the Authorization        memory that can direct a computer to function in a particular
   Request process (block 315). If the AuthGrant is good, the       63 manner, such that the instructions    stored in the memory
   mobile device 150 sends the valid AuthGrant (including the          produce an article of manufacture including instruction
   wallet balance (block 322)) to the adapter module 100 to            structures that implement the function specified in the flow
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   chart block or blocks. The computer program instructions        without a need to store every valid authorization code. In
   may also be loaded onto a computer to cause a series of         some implementations, the authentication code included in
   operational steps to be performed on or by the computer to      the broadcast packet of information is a hash value of the
   produce a computer implemented process such that the            randomly or pseudo-randomly         generated number or the
   instructions that execute on the computer provide steps for 6 sequential number.
   implementing the functions specified in the flow chart block        The mobile device 150 receives the broadcasted packet of
   or blocks. Accordingly, blocks of the flow charts support       information, and the mobile device 150 sends (1004), via a
   combinations of steps, structures, and/or modules for per-      long-range communication capability (e.g. , GSM, CDMA,
   forming the specified functions. It will also be understood     Wi-Fi, or the like), an authorization request to the server
   that each block of the flow charts, and combinations of 10 130. For example, an application 140 that is associated with
   blocks in the flow charts, may be divided and/or joined with    the payment processing system is executing as a foreground
   other blocks of the flow charts without afl'ecting the scope of or background process on the mobile device 150. In this
   the invention. This may result, for example, in computer-       example, the application 140 receives the broadcasted
   readable program code being stored in whole on a single         packet of information when the mobile device 150 is within
   memory, or various components of computer-readable pro- 16 the communication zone of the payment module 100 (ke. ,
   gram code being stored on more than one memory.                 BLE range) and either automatically sends the authorization
                                                                   request to the server 130 or sends the authorization request
                     Additional Implementations                    to the server 130 when the mobile device 150 is within the
                                                                   authorization zone of the payment module 100. In some
      FIG. 23 illustrates a schematic flow diagram of a process 20 implementations,    the broadcasted packet of information
   1000 of authenticating a user to perform a transaction in the   includes a baseline authorization zone threshold (ke. , an
   payment processing system in accordance with some imple-        authorization zone criterion) indicating a baseline RSSI that
   mentations. In some implementations, the payment process-       the mobile device 150 (or the application 140) is required to
   ing system includes one or more payment modules 100 (e.g. ,     observe before being within the authorization zone of the
   each associated with a respective payment accepting unit 26 payment module 100. In some implementations, the mobile
   120 such as an automatic retailing machine for dispensing       device 150 (or the application 140) ofl'sets the baseline
   goods and/or services), one or more mobile devices 150          authorization zone threshold based on the strength and/or
   (e.g. , each executing the application 140 for the payment      reception of the short-range communication capability (e.g. ,
   processing system either as a foreground or background          BLE radio/transceiver) of the mobile device 150. In some
   process), and the server 130. The server 130 manages the 30 implementations, the authorization request at least includes
   payment processing system and, in some cases, is associated     the authorization code which was included in the broad-
   with an entity that supplies, operates, and/or manufactures     casted packet of information, an identifier associated with
   the one or more payment modules 100. For brevity, the           the user of the mobile device 150 or the user account under
   process 1000 will be described with respect to a respective     which the user of the mobile device 150 is logged into the
   payment module 100 and a respective mobile device 150 in 36 application 140 (user ID), and the identifier associated with
   the payment processing system.                                  the payment module 100 (module ID). In some implemen-
      The payment module 100 broadcasts (1002), via a short-       tations, the authentication code included in authorization
   range communication capability (e.g. , BLE), a packet of        request is the hash value in cleartext. The authorization
   information (sometimes also herein called "advertised infor-    request is further discussed below with reference to FIG.
   mation"). The packet of information at least includes an 40 24B.
   authorization code and an identifier associated with the           After receiving the authorization request, the server 130
   payment module 100 (module ID). In some implementa-             processes (1006) the authorization request. In some imple-
   tions, the packet of information further includes a firmware    mentations, the server 130 decrypts the authorization code
   version of the payment module 100 and one or more status        included in the authorization request with the shared secret
   flags corresponding to one or more states of the payment 46 key corresponding to the payment module 100. In some
   module 100 and/or the payment accepting unit 120. The           implementations, the server 130 determines whether the user
   information included in the packet broadcast by the payment     associated with the user ID in the authorization request has
   module 100 is further discussed below with reference to         sufficient funds in his/her account for the payment process-
   FIG. 24A.                                                       ing system to perform a transaction at the machine 120 that
      In some implementations, the payment module 100 sends 60 is associated with the payment module 100 corresponding to
   out a unique authorization code every X seconds (e.g. , 100     the module ID in the authorization request.
   ms, 200 ms, 500 ms, etc. ). In some implementations,        the     The server 130 sends (100S), via a long-range commu-
   unique authorization codes are randomly or pseudo-ran-          nication capability (e.g. , GSM, CDMA, Wi-Fi, or the like),
   domly generated numbers. In some implementations,           the an authorization grant token to the mobile device 150. In
   payment module 100 stores broadcasted authorization codes 66 some implementations,         the server 130 does not send the
   until a received authorization grant token matches one of the   authorization grant token if the authorization code in the
   stored authorization codes. In some implementations,        the authorization request cannot be decrypted with the shared
   payment module 100 stores broadcasted authorization codes       secret key corresponding to the payment module 100 (e.g. ,
   for a predetermined amount of time (e.g. , Y minutes) after     the authorization code is corrupted or hacked). In some
   which time an authorization code expires and is deleted. In 60 implementations, the server 130 does not send the authori-
   some implementations, the authorization code is encrypted       zation grant token if the user associated with the user ID in
   with a shared secret key known by the server 130 but unique     the authorization request does not have sufficient funds in
   to the payment module 100. In some implementations,         the his/her account. In some implementations, in addition to the
   payment module 100 initializes a random number and then         authorization grant token, the server 130 sends a message
   the authorization codes are sequential counts from this 66 directly to the mobile device 150 which is not encrypted
   random number. In such implementations,           the payment   with the shared secret key corresponding to the payment
   module 100 stores the earliest valid (unexpired) counter        module 100. After receiving the message, the mobile device
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                                 29                                                                      30
   150 displays an appropriate      message to the user such as           such as upload information indicator 1116 indicating that
   insufficient balance or declined authorization.        In some         that the payment module 100 has information to be uploaded
   implementations, the server 130 sends an authorization grant           to the server 130 (e.g. , transaction information for one or
   token for an amount equal to zero; in which case, the                  more interrupted transactions). In some implementations,
   payment module 100 interprets this as a declined or failed        5    upload information indicator 1116triggers the mobile device
   authorization which can result for any number of reasons               150 to connect to payment module 100 immediately (e.g. , if
   including, but not limited to, insufficient balance or credit.         it has interrupted transaction information to be uploaded to
       The mobile device 150 receives the authorization grant             the server 130). See FIGS. 25A-25B and 29A-29C and the
   token, and, subsequently, the mobile device 150 detects                accompanying text for further discussion regarding inter-
   (1010) a trigger condition. In some implementations, the          10   rupted transactions. In some implementations,          the one or
   mobile device 150 (or the application 140) detects the                 more status flags 110S indicate a state of the payment
   trigger condition via the hand-free mode (e.g. , upon entrance         accepting unit 120 including one or more of an error
   into the payment zone of the payment module 100) or                    indicator 111S (e.g. , indicating that a bill and/or coin accep-
   manual mode (e.g. , interacting with the user interface of the         tor of the payment accepting unit 120 is experiencing a jam,
   application 140 to initiate a transaction with the payment        15   error code, or malfunction), a currency level indicator 1120
   accepting unit associated with the payment module 100).                (e.g. , indicating that the level of the bill and/or coin acceptor
       In some implementations,      unused authorization grants          reservoir of the payment accepting unit 120 is full or empty),
   (e.g. , if there was no trigger condition or it expired) are           and/or inventory level(s) indicator 1122 (e.g. , indicating that
   canceled by the mobile device 150 by sending a cancellation            one or more products of the payment accepting unit 120 are
   message to the server 130 corresponding to the unused             20   below a predefined minimum inventory level). In some
   authorization grant. In some implementations, the server 130           implementations, the one or more status flags 110S are error
   denies or limits the number of authorization grants sent to            codes issued by payment accepting unit 120 over the MDB.
   the mobile device 150 until it has received transaction                   In some implementations,        the zone criteria information
   information or cancellation of outstanding authorization               1110 specifies an authorization zone criterion 1124 (e.g. , a
   grants sent to the mobile device 150.                             25   baseline authorization zone threshold indicating a baseline
       In response to detecting the trigger condition, the mobile         RSSI that the mobile device 150 (or the application 140) is
   device 150 sends (1012), via a short-range communication               required to observe before being within the authorization
   capability (e.g. , BLE), the authorization grant token to the          zone of the payment module 100) and/or a payment zone
   payment module 100. Subsequently, the machine 120 dis-                 criterion 1126 (e.g. , a baseline payment zone threshold
   plays credit to the user (e.g. , via one of the displays 122 or   30   indicating a baseline RSSI that the mobile device 150 (or the
   124 shown in FIG. 19) and the user interacts with the input            application 140) is required to observe before being within
   mechanisms of the machine 120 (e.g. , via the buttons 126 or           the payment zone of the payment module 100). In some
   a touch screen display 124 shown in FIG. 19) to purchase               implementations,     the baseline authorization zone threshold
   products and/or services.                                              and the baseline payment zone threshold are default values
       FIG. 24A illustrates a block diagram of a packet 1100 of      35   determined by the server 130 or stored as variables by the
   information broadcast by the payment module 100 (e.g. , in             application 140, in which case the authorization zone crite-
   step 1002 of the process 1000 in FIG. 23) in accordance with           rion 1124 and payment zone criterion 1126 are ofl'sets to
   some implementations. In some implementations, the packet              compensate for the strength and/or reception of the short-
   1100 at least includes: module ID 1102 and authorization               range communication         capability (e.g. , BLE radio/trans-
   code 1104. In some implementations, the packet 110 addi-          40   ceiver) of the payment module 100. Alternatively, zone
   tional includes: a firmware version 1106 and one or more               criteria information 1110 includes a spread between the
   status flags 110S.                                                     baseline authorization zone threshold and the baseline pay-
      In some implementations, the module ID 1102 is a unique             ment zone threshold. Thus, the mobile device 150 (or the
   identifier corresponding to the payment module 100 (some-              application 140) determines the baseline authorization zone
   times also herein called the "adapter module 100") that           45   threshold and the baseline payment zone threshold based on
   broadcast the packet 1100.                                             the spread value and a default value for either the baseline
      In some implementations, the authorization code 1104 is             authorization zone threshold or the baseline payment zone
   a hash value in cleartext. In some implementations,        the         threshold. For example, the spread indicates —10 db and the
   payment module 100 randomly or pseudo-randomly          gener-         default baseline payment zone threshold is —90 db; thus, the
   ates a number or determines a sequential number (See step         50   baseline authorization zone threshold is —80 db. Continuing
   1002 of process 1000 in FIG. 23) and performs a predeter-              with this example, after determining the baseline authoriza-
   mined hash function (e.g. , SHA-256) on the number to                  tion zone threshold and the baseline payment zone thresh-
   produce the hash value as the authorization code 1104. In              old, the mobile device 150 (or the application 140) may
   some implementations,      the authorization code 1104 is a            further adjust the authorization zone threshold and/or the
   unique code that is encrypted with a secret encryption key        55   payment zone threshold based on the strength and/or recep-
   corresponding     to the payment module 100. The secret                tion of its short-range communication capability (i.e., BLE
   encryption key is shared with the server 130, which enables            radio/transceiver).
   the server 130 to decrypt the authorization code 1104 and                 FIG. 24B is a block diagram of an authorization request
   encrypt the authorization grant token but not the mobile               1130 sent by the mobile device 150 to the server 130 (e.g. ,
   device 150. In some implementations,           the encryption     60   in step 1004 of the process 1000 in FIG. 23) in accordance
   between server 130 and payment module 100 is accom-                    with some implementations.        In some implementations, the
   plished by two pairs of public/private keys.                           authorization request 1130 at least includes: a module ID
      In some implementations,      the one or more status flags          1102, a user ID 1134, and an authorization code 1104.
   110S indicate a state of the payment module 100 and/or the                In some implementations, the module ID 1102 is a unique
   payment accepting unit 120 associated with the payment            65   identifier corresponding to the payment module 100 that
   module 100. In some implementations,         the one or more           broadcast the broadcast packet 1100 that included the autho-
   status flags 110S indicate a state of the payment module 100           rization code 1104.
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                                31                                                                     32
       In some implementations, the user ID 1134 is an identifier      step 1254 of the process 1250 in FIG. 25B) in accordance
   associated with the user of the mobile device 150 sending           with some implementations.      In some implementations, the
   the authorization request 1130 to the server 130. In some           transaction information 1150 includes: a transaction ID 1152
   implementations,    the user ID 1134 is associated with the         for the respective transaction, a module ID 1154, a user ID
   user account under which the user of the mobile device 150       5 1156, (optionally) the authorization     code 115S, transaction
   is logged into the application 140.                                 status information 1160, the transaction amount 1162, and
       In some implementations,    the authorization code 1130         other information 1164.
   includes the authorization code 1104 included in the packet            In some implementations,      the transaction ID 1152 is a
   1100 of information that was broadcast by the payment               unique identifier corresponding to the respective transaction.
   module 100.                                                      10 In some implementations,        the transaction ID 1152 is
       FIG. 24C is a block diagram of an authorization grant           encoded based on or associated with the time and/or date on
   token 1140 sent by the server 130 to the mobile device 150          which and the location at which the respective transaction
   (e.g. , in step 100S of the process 1000 in FIG. 23) in               took place.
   accordance with some implementations. In some implemen-                  In some implementations,     the module ID 1154 is a unique
   tations, in accordance with a determination that the autho-      15 identifier    corresponding to the payment module 100 that
   rization code 1136 included in the authorization request              performed the respective transaction.
   1130 from the mobile device 150 is valid and that the user               In some implementations, the user ID 1156 is an identifier
   associated with the mobile device 150 has sufficient funds in         associated with the user of the mobile device 150 that
   his/her account for the payment processing system, the                initiated the respective transaction.
   server 130 generates the authorization grant token 1140. In      20      In some implementations,       the authorization code 115S
   some implementations, the authorization grant token 1140 at           corresponds to the original authorization code (e.g. , auth
   least includes: a module ID 1102, a user ID 1134, an                  code 1104, FIGS. 24 A-24C) and/or authorization grant
   authorized amount 1146, (optionally) an expiration period             token (e.g. , auth grant token 1140, FIG. 24C) that was used
   ofl'set 114S, and (optionally) the authorization code 1104.           to initiate the respective transaction. In some implementa-
       In some implementations, the module ID 1102 is a unique      25   tions, the authorization code 1156 is encrypted with a unique
   identifier corresponding to the payment module 100 that               encryption key corresponding to the payment module 100.
   broadcast the packet 1100 that included the authorization                In some implementations, the transaction status informa-
   code 1104.                                                            tion 1160 includes an indication whether the respective
      In some implementations, the user ID 1134 is an identifier         transaction was completed, not-completed, or aborted. For
   associated with the user of the mobile device 150 that sent 30        example, the respective transaction is incomplete if a jam
   the authorization request 1130 to the server 130.                     occurred at the payment accepting unit 120 and the user did
       In some implementations,     the authorized amount 1146           not receive the product associated with the respective trans-
   indicates a maximum amount for which the user of the                  action. For example, if the user walks away from the
   mobile device 150 is authorized for a transaction using the           payment accepting unit 120 after money was credited for the
   authorization grant token 1140. For example, the authorized      35   respective transaction, the respective transaction is aborted.
   amount 1146 is predefined by the user of the mobile device            In another example, if the respective transaction times out
   150 or by the server 130 based on a daily limit or based on           after a predetermined time period because the user failed to
   the user's total account balance or based on a risk profile of        select a product at the payment accepting unit 120, the
   the user correspond to the user ID 1134.                              respective transaction is aborted. In another example, if the
       In some implementations,      the expiration period 114S     40   user actuates a bill or coin return mechanism of the payment
   ofl'set indicates an ofl'set to the amount of time that the           accepting unit 120, the respective transaction is aborted.
   payment module 100 holds the authorization grant token                   In some implementations,       the transaction amount 1162
   1140 valid for initiation of a transaction with the machine           indicates the amount of the respective transaction or the
   120 associated with the payment module 100. For example,              amount of each of multiple transactions (e.g. , in a multi-
   the expiration period ofl'set 114S depends on the history and    45   vend scenario). In some implementations,          the transaction
   credit of the user of mobile device 150 or a period predefined        amount 1162 is encrypted with a unique encryption key
   by the user of mobile device 150.                                     corresponding to the payment module 100.
       In some implementations,    the authorization grant token            In some implementations,        the other information 1164
   1140 further includes the authorization code 1104 that was            includes other information related to the respective transac-
   included in the authorization request 1130. In some imple-       50   tion such as the items dispensed by the payment accepting
   mentations, when the authorization code 1104 is the hash              unit 120 and the type of transaction (e.g. , coins, bills, credit
   value, the server 130 encrypts the authorization grant token          card, manual mode, hands-free mode, etc. ). In some imple-
   1140 including the hashed value with the shared secret                mentations, the other information 1164 includes other infor-
   encryption key associated with payment module 100. Sub-               mation related to the payment module 100 and/or the
   sequently, when mobile device 150 sends the authorization        55   payment accepting unit 120 associated with the payment
   grant token 1140 to payment module 100 after detecting a              module 100. For example, the other information 1164
   trigger condition, the payment module 100 decrypts the                includes a verification request to the server 130 in order to
   authorization grant token 1140 using the secret key known             implement new firmware. In another example, the other
   only to server 130 and payment module 100 (which authen-              information 1164 includes transaction information from one
   ticates the message and the authorization grant), and then       60   or more previous interrupted transactions. In another
   matches the hash value included in the decrypted authori-             example, the other information 1164 includes transaction
   zation grant token 1140 to previously broadcast valid (unex-          information for one or more transactions paid via bills
   pired) hash values (ke. , auth codes) to determine validity of        and/or coins. In another example, the other information 1164
   the hash value (which was known only by payment module                includes inventory information as to one or more products of
   100).                                                            65   the payment accepting unit 120.
     FIG. 24D illustrates a block diagram of transaction infor-             FIG. 25A illustrates a schematic flow diagram of a process
   mation 1150 generated by the payment module 100 (e.g. , in            1200 of processing acknowledgement information in accor-
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                                33                                                                  34
   dance with some implementations.        In some implementa-        corresponds to a vended soda and the advertisement corre-
   tions, the payment processing system includes one or more          sponds to a new soda from the same company that produces
   payment modules 100 (e.g. , each associated with a respec-         the vended soda.
   tive payment accepting unit 120 such as an automatic                   The mobile device 150 provides (120S) a representation
   retailing machine for dispensing goods and/or services), one 6 of the notification. For example, in FIG. 26A, the mobile
   or more mobile devices 150 (e.g. , each executing the appli-       device 150 displays user interface 1302 on touch screen 152
   cation 140 for the payment processing system either as a           with a message 1306 that indicates that the first transaction
   foreground or background process), and the server 130. The         is complete. For example, in FIG. 26C, the mobile device
   server 130 manages the payment processing system and, in           150 displays user interface 1320 on touch screen 152 with a
   some cases, is associated with an entity that supplies, 10 message 1322 that indicates that the transaction was aborted.
   operates, and/or manufactures the one or more payment              For example, in FIG. 26D, the mobile device 150 displays
   modules 100. For brevity, the process 1200 will be described       user interface 1330 on touch screen 152 with a message
   with respect to a respective payment module 100 associated         1332 that indicates that there was an error with the trans-
   with a respective payment accepting unit 120 (machine 120)         action. For example, the mobile device 150 also displays a
   and a respective mobile device 150 in the payment process- 16 representation of the promotion of advertisement on the user
   ing system. In the process 1200, the payment module 100            interface for the application 140.
   receives first acknowledgment information for a first trans-           FIG. 25B illustrates a schematic flow diagram of a process
   action via the mobile device 150 that initiated the first          1250 of processing interrupted transactions in accordance
   transaction.                                                       with some implementations.        In some implementations, the
      In some implementations, the process 1200 occurs after 20 payment processing system includes one or more payment
   the mobile device 150 sends the AuthGrant in FIG. SC. In           modules 100 (e.g. , each associated with a respective pay-
   some implementations,       the process 1200 occurs after the      ment accepting unit 120 such as an automatic retailing
   mobile device 150 sends the authorization grant to the             machine for dispensing goods and/or services), one or more
   payment module 100 in operation 1012 of process 1000 in            mobile devices 150 (e.g. , each executing the application 140
   FIG. 23.                                                        26 for the payment processing system either as a foreground or
      The payment module 100 obtains (1202) an indication             background process), and the server 130. The server 130
   corresponding to an event at the machine 120. For example,         manages the payment processing system and, in some cases,
   after the process 1000 in FIG. 23, the user of the mobile          is associated with an entity that supplies, operates, and/or
   device 150 selects a product to purchase from the machine          manufactures the one or more payment modules 100. For
   120 by interacting with one or more input mechanisms of the 30 brevity, the process 1250 will be described with respect to a
   machine 120 (e.g. , buttons 126 or a touch screen display 124      respective payment module 100 associated with a respective
   shown in FIG. 19), and the machine 120 dispenses the               payment accepting unit 120 (machine 120) and a respective
   selected product. Continuing with this example, after the          mobile device 150 in the payment processing system. In the
   product is dispensed, the transaction is complete and the          process 1250, the payment module 100 receives first
   payment module 100 obtains an indication from the machine 36 acknowledgment              information for a first transaction via a
   of the completed transaction. In some implementations, the         second mobile device 150-2 that did not initiate the first
   indication includes the amount of the transaction and (op-         transaction.
   tionally) machine status information associated with the               In some implementations, the process 1250 occurs after
   machine 120 such as inventory information as to one or             the mobile device 150 sends the AuthGrant in FIG. SC. In
   more products of the payment accepting unit 120 and/or the 40 some implementations,             the process 1250 occurs after the
   like. In some implementations, the indication includes status      mobile device 150 sends the authorization grant to the
   information indicating that the transaction was aborted (e.g. ,    payment module 100 in operation 1012 of process 1000 in
   via actuation of a coin return mechanism at the machine 120)       FIG. 23.
   or that there was an error with the transaction (e.g. , a              The payment module 100 obtains (1252) an indication
   vending jam or other malfunction with the machine 120). 46 corresponding to completion of a first transaction from the
      After obtaining the indication corresponding to comple-         machine 120. For example, after the process 1000 in FIG.
   tion of the first transaction, the payment module 100 gen-         23, the user of the mobile device 150 selects a product to
   erates (1204) a notification corresponding to the event at the     purchase from the machine 120 by interacting with one or
   machine 120.                                                       more input mechanisms of the machine 120 (e.g. , buttons
      The payment module 100 sends (1206), via a short-range 60 126 or a touch screen display 124 shown in FIG. 19), and the
   communication capability (e.g. , BLE), the notification to the     machine 120 dispenses the selected product. Continuing
   mobile device 150. In some embodiments, in addition to the         with this example, after the product is dispensed, the trans-
   notification corresponding to the event at machine 120, the        action is complete and the payment module 100 obtains an
   payment module 100 sends a promotion or advertisement to           indication from the machine of the completed transaction. In
   the mobile device 150 that is targeted to the user of the 66 some implementations,             the indication includes the amount
   mobile device 150 based on the transaction or the user ID          of the transaction and (optionally) machine status informa-
   included in the AuthGrant or authorization grant token that        tion associated with the machine 120 such as inventory
   initiated the transaction. In some embodiments, in addition        information as to one or more products of the payment
   to the notification corresponding to the event at machine          accepting unit 120 and/or the like.
   120, the payment module 100 sends a pseudo randomly 60                After obtaining the first notification, the payment module
   selected promotion or advertisement to the mobile device           100 generates (1204) first transaction information based on
   150 that is selected from a set of promotions or advertise-        the first notification, and the payment module 100 stores the
   ments stored by the payment module 100. For example, the           first transaction information. In some implementations,      the
   promotion is a coupon for a free soda following the purchase       first transaction information includes a transaction ID for the
   of ten sodas from the machine 120 by the user of the mobile 66 first transaction, a module ID corresponding to payment
   device 150. For example, the promotion is a random 50% ofl'        module 100, a user ID corresponding to the mobile device
   coupon or free soda coupon. For example, the transaction           150, transaction status information indicating that the first
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   transaction is complete, and the transaction amount indi-                 After receiving the first acknowledgment information, the
   cated by the first notification. In some implementations, the          payment module 100 deletes (1268) the stored first transac-
   payment module 100 retains the authorization code included             tion information.
   in the original broadcasted packet and/or the authorization               Attention is now directed towards implementations         of
   grant token and includes the authorization code in the first         6 user interfaces and associated processes that may be imple-

   transaction information.       In some implementations,       the      mented on the mobile device 150 with zero or more speak-
   authorization code is encrypted with a secret key corre-               ers, zero or more microphones, and a display. For example,
   sponding to the payment module 100, which is shared with
                                                                          the display is a touch screen (sometimes also herein called
                                                                          a "touch screen display" ) enabled to receive one or more
   the server 130 but not the mobile device 150. In some
                                                                       10 contacts and display information (e.g. , media content, web-
   implementations,      the first transaction information further
                                                                          sites and web pages thereof, user interface for the applica-
   includes other information such as the machine status infor-
                                                                          tion 140, and/or user interfaces for applications). FIGS.
   mation included in the first notification or transaction infor-
                                                                          26A-26D illustrate example user interfaces for providing a
   mation corresponding to previous interrupted transaction(s).           representation of a machine event at a mobile device in
   See FIG. 24D and the accompanying text for further dis-             16 accordance with some implementations.
   cussion regarding transaction information 1150.                           FIGS. 26A-26D show user interfaces displayed on mobile
       The payment module 100 sends (1256), via a short-range             device 150 (e.g. , a mobile phone); however, one skilled in
   communication capability (e.g. , BLE), the first notification          the art will appreciate that the user interfaces shown in
   with first transaction information to the mobile device 150.           FIGS. 26A-26D may be implemented on other similar
   In some embodiments, in addition to first transaction infor-        20 computing devices. The user interfaces in FIGS. 26A-26D
   mation corresponding to completion of the first transaction            are used to illustrate the processes described herein, includ-
   at machine 120, the first notification includes a promotion or         ing the process described with respect to FIGS. 25A-25B
   advertisement to the mobile device 150 that is targeted to the         and 27A-27B.
   user of the mobile device 150 based on the transaction or the             For example, a user of the mobile device 150 approaches
   user ID included in the AuthGrant or authorization grant            26 a machine 120 (e.g. , vending machine 7Sx92S as shown in
   token that initiated the transaction. In some embodiments, in          FIGS. 10A-10D) and executes application 140 on the mobile
   addition to first transaction information corresponding to             device 150 so as to perform an electronic transaction with
   completion of the first transaction at machine 120, the first          the machine 120. For example, with reference to FIGS.
   notification includes a pseudo randomly selected promotion             10C-10D, the user of the mobile device 150 initiates a
   or advertisement to the mobile device 150 that is selected          30 transaction with the machine 120 (e.g. , vending machine
   from a set of promotions or advertisements stored by the               7Sx92S) by performing a swipe gesture at a location corre-
   payment module 100. For example, the promotion is a                    sponding to the representation of the dollar bill (e.g. , a
   coupon for a free soda following the purchase of ten sodas             substantially vertical swipe gesture from a location corre-
   from the machine 120 by the user of the mobile device 150.             sponding to the representation of the dollar bill to the top
   For example, the promotion is a random 50% ofi' coupon or           36 edge of the mobile device 150).
   free soda coupon. For example, the transaction corresponds                FIG. 26A illustrates the mobile device 150 displaying a
   to a vended soda and the advertisement corresponds to a new            user interface 1302 of the application 140 on touch screen
   soda from the same company that produces the vended soda.              152 after the user of the mobile device 150 initiates and
       The mobile device 150 provides (1258) a representation             performs a transaction with the machine 120. In FIG. 26A,
   of the first notification. For example, in FIG. 26A, the            40 the user interface 1302 includes prepaid balance 1304 which
   mobile device 150 displays user interface 1302 on touch                indicates that $1.00 has been deducted from the prepaid
   screen 152 with a message 1306 that indicates that the first           balance after performing a transaction with the machine 120
   transaction is complete. For example, the mobile device 150            as compared to the prepaid balance in FIG. 10C-10D (ke. ,
   also displays a representation of the promotion of advertise-          $9.00 in FIGS. 10C-10D and $8.00 in FIG. 26A). In FIG.
   ment on the user interface for the application 140.                 46 26A, the user interface 1302 also includes a message 1306
       The mobile device 150 sends (1260), via a long-range               indicating that the transaction with the machine 120 is
   communication capability (e.g. , GSM, CDMA, Wi-Fi, or the                complete.
   like), the first transaction information to the server 130.                FIG. 26B illustrates the mobile device 150 displaying a
       The server 130 processes (1262) the first transaction              user interface 1310 of the application 140 on touch screen
   information. For example, the server 130 debits the account         60 152 after the user of the mobile device 150 initiates a
   of the user associated with the user ID in the first transaction       transaction with the machine 120 and an error with the
   information in the amount indicated by the first transaction           transaction occurs or the transaction is aborted. In FIG. 26B,
   information.                                                           the user interface 1310 shows the representation of the dollar
       The server 130 sends (1264), via a long-range commu-               bill sliding onto the touch screen 152 (e.g. , in a substantially
   nication capability (e.g. , GSM, CDMA, Wi-Fi, or the like),         66 top to bottom manner). In FIG. 26B, the interface 1310
   first acknowledgment information to the mobile device 150.             includes prepaid balance 1312 which indicates that no
   In some implementations, the first acknowledgment infor-               money has been deducted from the prepaid balance after
   mation acknowledges that the server 130 received the first             performing a transaction with the machine 120 as compared
   transaction information. In some implementations, the first            to the prepaid balance in FIG. 10C-10D (ke. , $9.00 in FIGS.
   acknowledgment information includes the user ID, the mod-           60   10C-10D and $9.00 in FIG. 26B).
   ule ID, the transaction ID, and (optionally) the authorization              FIG. 26C illustrates the mobile device 150 displaying a
   grant included in the transaction information (e.g. , auth               user interface 1320 of the application 140 on touch screen
   grant 1158, FIG. 24D).                                                   152 after the representation of the dollar bill slides onto the
       After receiving the first acknowledgement       information,         touch screen 152 in FIG. 26B due to the transaction being
   the mobile device 150 sends (1266), via a short-range               66   aborted. For example, the user aborts the transaction by
   communication capability (e.g. , BLE), the first acknowledg-             actuating a coin return mechanism of the machine 120. In
   ment information to the payment module 100.                              another example, the user aborts the transaction by selection
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   an abort aflordance on the interface of the application 140            transaction is complete. For example, in FIG. 26C, the
   (not shown). In FIG. 26C, the user interface 1320 includes             mobile device 150 displays user interface 1320 on touch
   a message 1322 indicating that the transaction with the                screen 152 with a message 1322 that indicates that the
   machine 120 was aborted and that the user's account was not            transaction was aborted. For example, in FIG. 26D, the
   debited for the aborted transaction.                              6    mobile device 150 displays user interface 1330 on touch
       FIG. 26D illustrates the mobile device 150 displaying a            screen 152 with a message 1332 that indicates that there was
   user interface 1330 of the application 140 on touch screen             an error with the transaction.
   152 after the representation of the dollar bill slides onto the           In some implementations, the one or more output devices
   touch screen 152 in FIG. 26B due to the occurrence of an
                                                                          of the mobile device include (1408) at least one of: a display,
   error with the transaction. For example, a malfunction with       10
                                                                          one or more speakers, one or more LEDs, and a vibration
   the machine 120 (e.g. , a vending jam or stuck item) causes
                                                                          mechanism. For example, the mobile device 150 includes
   the error to occur. In FIG. 26D, the user interface 1330 is
                                                                          one or more of a display (e.g. , the touch screen 152, FIGS.
   associated with the application 140 executed on the mobile
   device 150. In FIG. 26D, the user interface 1330 includes a            10A-10D), one or more speakers, one or more LEDs, and a
   message 1332 indicating that an error occurred during the         16
                                                                          vibration mechanism.
   transaction with the machine 120 and that the user's account              In some implementations, the representation of the noti-
   was not debited for the transaction.                                   fication is at least one of (1410): a message displayed on the
       FIGS. 27A-27B illustrate a flowchart diagram of a                  display of the mobile device; a banner notification displayed
   method 1400 of presenting representations          of payment          on a display of the mobile device; a vibration alert from the
   accepting unit events in accordance with some implemen-           20   vibration mechanism of the mobile device; an aural alert
   tations. In some implementations, the method 1400 is per-              from the one or more speakers of the mobile device; and a
   formed by a device with one or more processors, memory,                visual alert from the one or more LEDs of the mobile device.
   one or more output devices, and two or more communication              For example, in FIGS. 26B-26D, the representation of the
   capabilities. For example, in some implementations,         the        notification includes messages 1306, 1322, and 1332 dis-
   method 1400 is performed by the mobile device 150 (FIGS.          26   played on the touch screen 152 of the mobile device 150. In
   5 and 21) or a component thereof (e.g. , the application 140).         another example, the representation of the notification is a
   In some implementations, the method 1400 is governed by                predefined sequence of vibrations provided by the vibration
   instructions that are stored in a non-transitory      computer         mechanism of the mobile device 150. In another example,
   readable storage medium (e.g. , the memory 860, FIG. 21)               the representation      of the notification is a predefined
   and the instructions are executed by one or more processors       30   sequence of tones provided by the one or more speakers of
   (e.g. , the processing unit 850, FIG. 21) of the device.               the mobile device 150. In another example, the representa-
   Optional operations are indicated by dashed lines (e.g. ,              tion of the notification is a predefined sequence of blinking
   boxes with dashed-line borders).                                       LEDs of the mobile device 150.
      After sending a request to a payment module via a first                In some implementations,         the notification indicates
   communication capability transaction to initiate a transac-       36   (1412) abortion of a transaction initiated by the user of the
   tion with a payment accepting unit (e.g. , an oflline-payment          mobile device. In FIG. 26C, for example, the user interface
   operated machine such as a vending machine or kiosk)                   1320 includes the message 1322 indicating that the trans-
   associated with the payment module, the mobile device                  action has been aborted. For example, the user aborts the
   obtains (1402) a notification from the payment module via              transaction by actuating a coin return mechanism of the
   the first communication capability, where the notification        40   machine 120. In another example, the user aborts the trans-
   indicates an event at the payment accepting unit associated            action by selection an abort aflordance on the interface of the
   with the payment module. In some implementations, method               application 140 (not shown).
   1400 occurs after the mobile device 150 sends the Auth-                   In some implementations,         the notification indicates
   Grant in FIG. SC. In some implementations,       method 1400           (1414) completion of a transaction between the user of the
   occurs after the mobile device 150 sends the authorization        46   mobile device and the payment accepting unit. In FIG. 26A,
   grant to the payment module 100 in operation 1012 of                   for example, the user interface 1302 includes the message
   process 1000 in FIG. 23. Operation 1206 of FIG. 25A, for               1306 indicating that completion of the transaction with the
   example, shows the mobile device 150 receiving a notifi-               machine 120 initiated by the user of the mobile device 150.
   cation sent by the payment module 100 (e.g. , the adapter                 In some implementations,        the notification indicating
   module 100, FIGS. 5 and 20) sent via the first communica-         60   completion of the transaction at least includes (1416) an
   tion capability (e.g. , a short-range communication technol-           amount of the completed transaction. In FIG. 26A, for
   ogy/protocol such as BLE). The notification indicates an               example, the user interface 1302 includes prepaid balance
   event at the payment accepting unit (e.g. , the payment                1304 which indicates that $1.00 has been deducted from the
   accepting unit 120, FIGS. 5 and 19) (sometimes also herein             prepaid balance after performing a transaction with the
   called "machine 120") associated with the payment module          66   machine 120 as compared to the prepaid balance in FIG.
   100.                                                                   10C-10D (ke. , $9.00 in FIGS. 10C-10D and $8.00 in FIG.
       In some implementations, the first communication capa-     26A).
   bility corresponds (1404) to a short-range communication          In some implementations, the mobile device sends (1418)
   protocol. As described above, the short-range communica-       at least a portion of the notification to a server via a second
   tion protocols include BLE, NFC, and/or other protocols 60 communication capability distinct from the first communi-
   utilizing non-persistent communication channels.               cation capability. Operation 1260 of FIG. 25B, for example,
       In response to obtaining the notification, the mobile      shows the mobile device 150 sending first transaction infor-
   device provides (1406) a representation of the notification to mation to the server 130 for a completed transaction via the
   a user of the mobile device via the one or more output         second communication capability (e.g. , a long-range com-
   devices of the mobile device. For example, in FIG. 26A, the 66 munication protocols such as Wi-Fi, CDMA, GSM, and/or
   mobile device 150 displays user interface 1302 on touch        the like). For example, the first transaction information at
   screen 152 with a message 1306 that indicates that the first   least includes the amount of the first completed transaction.
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       In some implementations, the first communication capa-               closed. Continuing with this example, when the switch is
   bility corresponds (1420) to a short-range communication                 closed, control unit 1506 receives a pulse (Le., a payment
   protocol and the second communication capability corre-                  acceptance signal) from the common terminal of the micro-
   sponds to a long-range         communication      protocol. For          switch 1502 indicating depression of the lever 1504 from the
   example, the first communication capability of the mobile           5    reception of a US quarter (Le., $0.25) or coin of another
   device 150 is a radio/transceiver means for communicating                value.
   via one or more short-range communication protocols such                    In some implementations,       when the control unit 1506
   as BLE, NFC, and/or the like (ke. , a non-persistent com-                receives a preset sequence of payment acceptance signals
   munication channel). For example, the second communica-
                                                                            indicative of a preset number of coins being received by the
   tion capability of the mobile device 150 is a radio/trans-          10
                                                                            microswitch 1502, the control unit 1506 initiates the opera-
   ceiver means for communicating via one or more long-range
                                                                            tion of the oflline-payment      operated machine 1500. For
   communication protocols such as Wi-Fi, CDMA, GSM,
                                                                            example, after receiving the preset sequence of payment
   and/or the like.
       In some implementations,       the notification indicates            acceptance signals (e.g. , three pulses indicating reception of
                                                                            three US quarters), the control unit 1506 initiates operation
   (1422) failure of a transaction initiated by the user of the        15
   mobile device or a malfunction associated with the payment               of the oflline-payment operated machine 1500 by applying
   accepting unit. In FIG. 26D, for example, the user interface             current to the gate of the transistor 1510 which allows
   1330 includes the message 1332 indicating that there was an              current to flow from the power supply 150S to operation unit
   error with the transaction. For example, the transaction fails           1512. For example, the operation unit 1512 is a motor of a
   due to a vending jam or other malfunction. In another               20   dryer which begins spinning once current flows from the
   example, the payment accepting unit experiences a malfunc-               power supply 150S.
   tion due to an open door or the like. In some implementa-                   In FIG. 2SA, payment module 1520 (e.g. , a form of the
   tions, at least a portion of the failure/malfunction    notifica-        adapter module 100, FIGS. 5 and 20) is configured to be
   tion is sent to the sever 130 and an alert is subsequently sent          installed in the oflline-payment operated machine 1500 so as
   to the operator of the payment accepting unit (e.g. , the           25   to retrofit the oflline-payment operated machine 1500 to be
   machine 120) by the server 130.                                          able to accept electronic payments. In some implementa-
       It should be understood that the particular order in which           tions, the payment module 1520 includes all or some of the
   the operations in FIGS. 27A-27B have been described is                   components included adapter module 100 in FIG. 20 such as
   merely for example purposes and is not intended to indicate              processing unit 750, memory 760, a security unit 755, and
   that the described order is the only order in which the             30   a communications unit 770. In some implementations,          the
   operations could be performed. One of ordinary skill in the              payment module 1520 also includes a first interface module
   art would recognize various ways to reorder the operations               1522, a second interface module 1524, and a lead 1536 for
   described herein. Additionally, it should be noted that details          drawing power from power supply 150S of the oflline-
   of other processes described herein with respect to other                payment operated machine 1500.
   methods described herein are also applicable in an analo-           35      In FIG. 2SA, the first interface module 1522 is configured
   gous manner to the method 1400 described above with                      to sample payment acceptance signals from the microswitch
   respect to FIGS. 27A-27B.                                                1502 (e.g. , a coin receiving switch) via lead 1532 of the
       FIG. 2SA illustrates a block diagram of an oflline-pay-              oflline-payment operated machine 1500. For example, the
   ment operated machine 1500 in accordance with some                       payment acceptance signals are indicative of a coin being
   implementations. For example, the oflline-payment operated          40   received by the microswitch 1502 which depress lever 1504.
   machine 1500 (e.g. , a form of the machine 120) is an                    In FIG. 2SA, the second interface module 1524 is configured
   electro-mechanical machine capable of accepting currency                 to sample control signals from the control unit 1506 of the
   (e.g. , coins), which is not connected to any networks (e.g. ,           oflline-payment operated machine 1500 via lead 1534 that
   telephone, cellular, or Wi-Fi). For example, the oflline-                initiate an operation of the oflline-payment           operated
   payment operated machine 1500 is a washer or dryer at a             45   machine (e.g. , the application of current to the gate of the
   laundromat, a parking meter, a car wash payment kiosk, or                transistor 1510) in response to receiving a preset sequence of
   other oflline-payment      operated machine that dispenses               payment acceptance signals from the microswitch 1502
   goods and/or services.                                                   (e.g. , the coin receiving switch) indicative of the preset
       In FIG. 2SA, the oflline-payment operated machine 1500               number of coins.
   includes a microswitch 1502, a control unit 1506, a power           50      FIG. 2SB illustrates signals sampled by the payment
   supply 150S, a transistor 1510, and an operation unit 1512.              module 1520 in accordance with some implementations. In
   The components of the oflline-payment operated machine                   FIG. 2SB, sample 1550 represents a preset sequence of
   1500 in FIG. 2SA are examples and one of skill in the art will           payment acceptance signals sampled by the first interface
   appreciate that various other components may be included in              module 1522 via lead 1532 that are sent from the micro-
   or excluded from the oflline-payment         operated machine       55   switch 1502 to the control unit 1506. For example, the preset
   1500.                                                                    sequence of payment acceptance signals indicative of the
     In FIG. 2SA, the microswitch 1502 is a leveraged micro-                preset number of coins include pulses (ke. , payment accep-
   switch with lever 1504. For example, the microswitch 1502                tance signals) 1552, 1554, 1556, and 155S. For example, the
   is a CHERRY BRAND™        microswitch with a normally open               leading edges of pulses 1552, 1554, 1556, and 155S at times
   terminal ("NO"), a normally closed terminal ("NC"), and a 60             15S2, 15S4, 15S6, and 15SS indicate reception of a coin by
   common terminal. For example, the lever 1504 is incorpo-                 microswitch 1502 which causes the switch to close when
   rated into a coin slot of the oflline-payment       operated             wired in the NO configuration as shown in FIG. 2SA. In FIG.
   machine 1500 and is depressed whenever a coin slides down                2SB, sample 1570 represents a control signal sampled by the
   the coin slot into a coin reservoir of the oflline-payment               second interface module 1524 via lead 1534 that is sent from
   operated machine 1500 (not shown). For example, when the 65              the control unit 1506 to transistor 1510. In FIG. 2SB, the
   lever 1504 is depressed and the microswitch 1502 is wired                sample 1570 includes a pulse 1572 that is sent from the
   in the NO configuration as shown in FIG. 2SA, the switch is              control unit 1506 to transistor 1510 at time 1590 after
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   receiving the preset sequence of payment acceptance signals            samples payment acceptance signals via lead 1532 from the
   from the microswitch 1502 (ke. , pulses 1552, 1554, 1556,              microswitch 1502 to the control unit 1506. For example,
   and 1558).                                                             each of the payment acceptance signals is indicative of
     FIGS. 29A-29B illustrate a flowchart diagram of a                    reception of a coin by the microswitch 1502. Continuing
   method of retrofitting an oflline-payment operated machine        5    with this example, the second interface module 1524 of the
   to accept electronic payments in accordance with some                  payment module 1520 samples control signals via lead 1534
   implementations.      In some implementations,      the method         from the control unit 1506 to the transistor 1510. The
   1600 is performed by a payment module with one or more                 payment module 1520 detects a preset sequence of payment
   processors and memory. In some implementations, the pay-               acceptance signals from the microswitch 1502 that causes
   ment module also includes a short-range communication             10   the control unit 1506 to apply a current to the gate of the
   capability corresponding to a short-range communication                transistor 1510 (e.g. , the control signals). For example, the
   protocol (e.g. , a non-persistent communication channel such           preset sequence of payment acceptance signals is indicative
   as BLE, NFC, and/or the like), where the short-range                   of a preset number of coins received by the microswitch
   communication       capability is configured to communicate            1502 to cause operation of the oflline-payment operated
   with one or more mobile devices, where each of the one or         15   machine 1500. For example, the application of current to the
   more mobile devices is configured with a complimentary                 gate of the transistor 1510 allows current to flow from the
   short-range communication          capability and a long-range         power supply 150S to the operation unit 1512 so that the
   communication capability corresponding to a long-range                 operation. For example, the operation unit 1512 is a motor
   communication protocol (e.g. , Wi-Fi, CDMA, GSM, and/or                of a dryer which begins spinning once current flows from the
   the like).                                                        20   power supply 150S.
       In some implementations, the payment module is coupled                In some implementations,       the payment module deter-
   with an oflline-payment operated machine (e.g. , the payment           mines (1604) the predefined signal sequence to emulate the
   accepting unit 120, FIGS. 5 and 19 (sometimes also herein              preset sequence of payment acceptance signals from the coin
   called "machine 120"), or the oflline-payment          operated        receiving switch. In some implementations,       after detecting
   machine 1500, FIG. 2SA) such as dryer or washer in a              25   the preset sequence of payment acceptance signals that
   laundromat, a parking meter, a car wash payment kiosk, or              causes the control unit 1506 to initiate the operation of the
   the like. In some implementations, the oflline-payment oper-           oflline-payment operated machine 1500, the payment mod-
   ated machine includes a coin receiving switch (e.g. , the              ule 1520 determines a predefined signal sequence to emulate
   microswitch 1502, FIG. 2SA) and a control unit (e.g. , the             the preset sequence of payment acceptance signals. In some
   control unit 1506, FIG. 2SA). In some implementations, the        30   implementations,     the money value associated with each
   payment module further includes: (A) a first interface mod-            pulse in the preset sequence of payment acceptance signals
   ule (e.g. , the first interface module 1522, FIG. 28A) con-            from the microswitch 1502, indicative of the preset number
   figured to sample payment acceptance signals from the coin             of coins to initiate the operation of the oflline-payment
   receiving switch of the oflline-payment operated machine,              operated machine 1500, is a default currency (e.g. , USD)
   where the signals are indicative of a coin being received by      35   and amount (e.g. , $0.25) set in the firmware of the payment
   the coin receiving switch; and (B) a second interface module           module 1520. In some implementations,         the money value
   (e.g. , the second interface module 1524, FIG. 2SA) config-            associated with the each pulse in the preset sequence of
   ured to sample control signals from the control unit of the            payment acceptance signals from the microswitch 1502,
   oflline-payment operated machine that initiate an operation            indicative of the preset number of coins to initiate the
   of the oflline-payment operated machine in response to            40   operation of the oflline-payment operated machine 1500, is
   receiving a preset sequence of payment acceptance signals              set by the server 130 and can be changed remotely by using
   from the coin receiving switch indicative of the preset                the mobile device 150 as a communications bridge to send
   number of coins. By sampling and storing these signals, the            information indicating the value of a pulse from the server
   payment module 1520 is able to simulate operation of a                 130 to the mobile device 150 via the second communication
   respective coin receiving switch in response to receiving the     45   capability (e.g. , GSM, CDMA, or Wi-Fi) and forwarding the
   correct/preset number of coins so as to trigger operation of           information from the mobile device to the payment module
   the oflline-payment        operated machine in response to             1520 via the first communication capability (e.g. , BLE). For
   completion of an electronic payment.                                   instance, in most cases, each pulse is US $0.25.
       For example, in some implementations, the method 1600                 In some implementations,        determining the predefined
   is performed by the adapter module 100 (FIGS. 5 and 20) or        50   signal sequence includes (1606) at least one of: identifying
   payment module 1520 (FIG. 2SA). In some implementa-                    a count of pulses in the present sequence of payment
   tions, the method 1600 is governed by instructions that are            acceptance signals; identifying amplitude of pulses in the
   stored in a non-transitory          computer readable storage          present sequence of payment acceptance signals; identifying
   medium (e.g. , the memory 760, FIG. 20) and the instructions           shape of pulses in the present sequence of payment accep-
   are executed by one or more processors (e.g. , the processing     55   tance signals; and identifying an interval between pulses. In
   unit 750, FIG. 20) of the payment module. Optional opera-              some implementations,      after detecting the preset sequence
   tions are indicated by dashed lines (e.g. , boxes with dashed-         of payment acceptance signals (e.g. , the sample 1550, FIG.
   line borders).                                                         2SB), the payment module 1520 determines a predefined
       In some implementations,       the payment module detects          signal sequence to emulate the preset sequence of payment
   (1602), via the first interface module, a preset sequence of      60   acceptance signals by identifying a count of pulses in the
   payment acceptance signals from the coin receiving switch              preset sequence of payment acceptance signals, an interval
   that causes the control unit to initiate the operation of the          between pulses in the preset sequence of payment accep-
   oflline-payment      operated machine,        where the preset         tance signals, the shape of pulses in the preset sequence of
   sequence of payment acceptance signals are indicative of a             payment acceptance signals, and an amplitude of pulses in
   preset number of coins received by the coin receiving             65   the preset sequence of payment acceptance signals.
   switch. For example, with reference to FIGS. 2SA-2SB, the                 The payment module receives (1608) a request via the
   first interface module 1522 of the payment module 1520                 short-range communication        capability from a respective
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   mobile device to perform an operation of the oflline-pay-              In some implementations, prior to sending the operation
   ment operated machine. For example, with reference to FIG.          information and after causing the oflline-payment operated
   SC, the payment module 1520 (FIG. 2SA) receives the                 machine to perform the operation by issuing the predefined
   AuthGrant from the mobile device 150 via the short-range            signal sequence to the control unit, the payment module
   communication capability (e.g. , BLE) indicating that the 5 obtains (1616) a notification from the oflline-payment oper-
   user of the mobile device 150 wishes to perform the opera-          ated machine indicating initiation of the operation of the
   tion of the oflline-payment operated machine 1500 (FIG.             oflline-payment operated machine and the preset number of
   2SA). For example with reference to operation 1012 in FIG.          coins. For example, after issuing the preset signal sequence
                                                                       to control unit 1506, the payment module 1520 (FIG. 2SA)
   23, the payment module 1520 (FIG. 2SA) receives an
                                                                    10 obtains a notification indicating that the control unit 1506
   authorization grant token from the mobile device 150 via the
                                                                       sent control signals to initiate operation of the oflline-
   short-range communication capability (e.g. , BLE) indicating
                                                                       payment operated machine 1500 in response to receiving the
   that the user of the mobile device 150 wishes to perform the
                                                                       predefined signal sequence. For example, the notification is
   operation of the oflline-payment        operated machine 1500       obtained by the second interface module 1524 (e.g. , the
   (FIG. 2SA).                                                      15 sample 1570, FIG. 2SB) sampling controls signals sent by
      The payment module validates (1610) the request. Vali-           control unit 1506 (e.g. , application of current to the gate of
   dation of the request indicates (1612) that the respective          the transistor 1510 which allows current to flow from the
   mobile device is authorized to initiate payment for the             power supply 150S to operation unit 1512).
   operation by a remote server via the long-range communi-               In response to receiving the notification, the payment
   cation capability. In some implementations,         the payment 20 module (161S):generates the operation information based at
   module 1520 validates the request from the mobile device            least in part on the notification; and stores the generated
   150 by determining whether the AuthGrant or the authori-            operation information in the memory. For example, after
   zation grant token includes a valid authorization code.             obtaining the notification, the payment module 1520 (FIG.
      In accordance with a determination that the request is           2SA) generates operation information corresponding to per-
   valid, the payment module causes (1614) the payment 25 formance of the operation and the preset number of coins
   operated machine to perform the operation by issuing a              associated with the predefined signal sequence (e.g. , the
   predefined signal sequence to the control unit, where the           amount required to initiate operation of the oflline-payment
   predefined signal sequence emulates a signal sequence that          operated machine 1500) and stores the operation informa-
   would be issued by the coin receiving switch in response to         tion in memory local to the payment module 1520 (e.g. , the
   receiving a preset number of coins. For example, with 30 memory 760, FIG. 20).
   reference to FIG. 2SB, the payment module 1520 issues a                In some implementations,       the payment module sends
   predefined signal sequence with first interface module 1522         (1620) operation information corresponding to the operation
   to the control unit 1506 that emulates sample 1550 in FIG.          to the respective mobile device via the short-range commu-
   2SB. Continuing with this example, in response to receiving         nication capability. For example, after operation 161S, the
   the predefined signal sequence from the payment module 35 payment module 1520 (FIG. 2SA) sends the operation
   1520 control unit 1506 causes initiation of the operation of        information to the mobile device 150 via the first commu-
   the oflline-payment     operated machine 1500 by applying           nication capability of the mobile device 150 such as a
   current to the gate of the transistor 1510 which allows             radio/transceiver means for communicating via one or more
   current to flow from the power supply 150S to operation unit        short-range communication protocols such as BLE, NFC,
   1512. In some implementations, the control unit 1506 causes 40 and/or the like (ke. , a non-persistent communication chan-
   initiation of the operation by setting a timer to an amount of      nel)
   time corresponding to the preset number of coins whereby               It should be understood that the particular order in which
   current flows to the gate of the transistor 1510 for the set        the operations in FIGS. 29A-29B have been described is
   amount of time. For example, the preset number of coins is          merely for example purposes and is not intended to indicate
   a number of a coins required to run the oflline-payment          45 that the described order is the only order in which the
   operated machine 1500 by for a default amount of time and           operations could be performed. One of ordinary skill in the
   subsequent coins may be added to extend the amount of time          art would recognize various ways to reorder the operations
   that the oflline-payment operated machine 1500 by will run.         described herein. Additionally, it should be noted that details
   In some implementations, the preset number of coins is a            of other processes described herein with respect to other
   number of a coins required to cause the oflline-payment          50 methods described herein (e.g. , the method 1700 in FIG. 30)
   operated machine 1500 to dispense a purchased item, such            are also applicable in an analogous manner to the method
   as laundry detergent.                                               1600 described above with respect to FIGS. 29A-29B.
      Alternatively, in some implementations,        in accordance        FIG. 30 illustrates a flowchart diagram of a method 1700
   with a determination that the request is valid, the oflline-        of enabling a payment operated machine to accept electronic
   payment operated machine 1500 displays credit to the user 55 payments in accordance with some implementations.                    In
   (e.g. , via one of the displays 122 or 124 shown in FIG. 19)        some implementations, the method 1700 is performed by an
   and the user interacts with the input mechanisms of the             oflline-payment operated machine (e.g. , the payment accept-
   oflline-payment operated machine 1500 120 (e.g. , via the           ing unit 120, FIGS. 5 and 19 (sometimes also herein called
   buttons 126 or a touch screen display 124 shown in FIG. 19)         "machine 120"), or the oflline-payment operated machine
   to perform the operation of the machine. For example, if the 60 1500, FIG. 2SA) such as dryer or washer in a laundromat, a
   oflline-payment operated machine 1500 is a dryer, the user          parking meter, a car wash payment kiosk, or the like.
   of the mobile device 150 selects the appropriate spin cycle            In some implementations,      the oflline-payment   operated
   via input mechanisms of the dryer, and when the user of the         machine includes a control unit (e.g. , the control unit 1506,
   mobile device 150 selects a start/run input mechanism of the        FIG. 2SA), memory, and a coin receiving switch (e.g. , the
   dryer, control unit 1506 of the dryer causes initiation of the 65 microswitch 1502, FIG. 2SA). In some implementations, the
   operation of the dryer (e.g. , starting a motor that corresponds    oflline-payment    operated machine also includes a short-
   to operation unit 1512 in FIG. 2SA).                                range communication capability corresponding to a short-
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                                45                                                                     46
   range communication protocol (e.g. , a non-persistent com-            herein. Additionally, it should be noted that details of other
   munication channel such as BLE, NFC, and/or the like),                processes described herein with respect to other methods
   where the short-range communication capability is config-             described herein (e.g. , the method 1600 in FIGS. 29A-29B)
   ured to communicate with one or more mobile devices,                  are also applicable in an analogous manner to the method
   where each of the one or more mobile devices is configured       6    1700 described above with respect to FIG. 30.
   with a complimentary short-range communication capability
   and a long-range communication capability corresponding                                       Miscellaneous
   to a long-range communication        protocol (e.g. , Wi-Fi,
   CDMA, GSM, and/or the like). For example, in some                       It should be noted that relative terms are meant to help in
   implementations,    the method 1700 is performed by the          10 the understanding    of the technology and are not meant to
   machine 120, (FIGS. 5 and 19). In some implementations,             limit the scope of the invention. Similarly, unless specifi-
   the method 1700 is governed by instructions that are stored
                                                                                                                                       "
                                                                       cally stated otherwise, the terms used for labels (e.g. , "first,
   in a non-transitory computer readable storage medium and
                                                                                  "
                                                                       "second, and "third") are meant solely for purposes of
   the instructions are executed by the control unit of the            designation and not for order or limitation. The term "short"
   oflline-payment operated machine.                                16 in the phrase "short-range" (in addition to having technology
      The oflline-payment operated machine receives (1702) a           specific meanings) is relative to the term "long" in the phrase
   request via a short-range communication capability from a             "long-range. "
   respective mobile device to perform an operation of the
                                                                                             "        "       "
                                                                            The terms "may, "might, "can, and "could" are used to
   oflline-payment operated machine. For example, with ref-              indicate alternatives and optional features and only should
   erence to FIG. SC, the payment module 1520 (FIG. 2SA)            20   be construed as a limitation if specifically included in the
   receives the AuthGrant from the mobile device 150 via the             claims.
   short-range communication capability (e.g. , BLE) indicating             It should be noted that, unless otherwise specified, the
   that the user of the mobile device 150 wishes to perform the          term "or" is used in its nonexclusive form (e.g. , "A or B"
   operation of the oflline-payment    operated machine 1500             includes A, B, A and B, or any combination thereof, but it
   (FIG. 2SA). For example with reference to operation 1012 in      26   would not have to include all of these possibilities). It should
   FIG. 23, the payment module 1520 (FIG. 2SA) receives an               be noted that, unless otherwise specified, "and/or" is used
   authorization grant token from the mobile device 150 via the          similarly (e.g. , "A and/or B" includes A, B, A and B, or any
   short-range communication capability (e.g. , BLE) indicating          combination thereof, but it would not have to include all of
   that the user of the mobile device 150 wishes to perform the          these possibilities). It should be noted that, unless otherwise
   operation of the oflline-payment    operated machine 1500        30   specified, the terms "includes" and "has" mean "comprises"
   (FIG. 2SA).                                                           (e.g. , a device that includes, has, or comprises A and B
      The oflline-payment operated machine validates (1704)              contains A and B, but optionally may contain C or additional
   the request. Validation of the request indicates (1706) that          components other than A and B). It should be noted that,
   the respective mobile device is authorized to initiate pay-
                                                                                                                            "     "
                                                                         unless otherwise specified, the singular forms "a, "an, and
   ment for the operation by a remote server via the long-range 36       "the" refer to one or more than one, unless the context
   communication capability. In some implementations,        the         clearly dictates otherwise.
   payment module 1520 validates the request from the mobile                It is to be understood that the inventions, examples, and
   device 150 by determining whether the AuthGrant or the                implementations described herein are not limited to particu-
   authorization grant token includes a valid authorization              larly exemplified materials, methods, and/or structures. It is
   code.                                                            40   to be understood that the inventions, examples, and imple-
      In accordance with a determination that the request is             mentations described herein are to be considered preferred
   valid, the oflline-payment     operated machine performs              inventions, examples, and implementations whether specifi-
   (170S) the operation by issuing a predefined signal sequence          cally identified as such or not.
   to the control unit, where the predefined signal sequence                The terms and expressions that have been employed in the
   emulates a preset number of coins received by the coin           46   foregoing specification are used as terms of description and
   receiving switch. For example, in accordance with a deter-            not of limitation, and are not intended to exclude equivalents
   mination that the request is valid, the oflline-payment oper-         of the features shown and described. While the above is a
   ated machine or a component thereof issues a predefined               complete description of selected implementations          of the
   signal sequence to the control unit 1506 that emulates                present invention, it is possible to practice the invention
   sample 1550 in FIG. 2SB. Continuing with this example, in        60   using various alternatives, modifications, adaptations, varia-
   response to receiving the predefined signal sequence from             tions, and/or combinations and their equivalents. It will be
   the payment module 1520, control unit 1506 causes initia-             appreciated by those of ordinary skill in the art that any
   tion of the operation of the oflline-payment          operated        arrangement that is calculated to achieve the same purpose
   machine 1500 by applying current to the gate of the tran-             may be substituted for the specific embodiment shown. It is
   sistor 1510 which allows current to flow from the power          66   also to be understood that the following claims are intended
   supply 150S to operation unit 1512. In another example, in            to cover all of the generic and specific features of the
   accordance with a determination that the request is valid, the        invention herein described and all statements of the scope of
   control unit 1506 causes initiation of the operation of the           the invention that, as a matter of language, might be said to
   oflline-payment operated machine 1500 by applying current             fall therebetween.
   to the gate of the transistor 1510 which allows current to       60      What is claimed is:
   flow from the power supply 150S to operation unit 1512.                   1. A method of presenting representations of vending
      It should be understood that the particular order in which         machine events, comprising:
   the operations in FIG. 30 have been described is merely for              at a mobile device with one or more processors, memory,
   example purposes and is not intended to indicate that the                    one or more output devices including a display, and a
   described order is the only order in which the operations        66          radio transceiver:
   could be performed. One of ordinary skill in the art would                   executing a mobile payment application on the mobile
   recognize various ways to reorder the operations described                      device, the mobile payment application being con-
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           figured to identify one or more vending machines in                in accordance with a determination that the user is walk-
           proximity to the mobile device that are available to                   ing away from the available vending machine, cancel-
           accept payment from the mobile payment applica-                        ing the wireless connection.
           tion, the identifying including detecting predefined               9. The method of claim 1, wherein the notification reflects
           radio messages broadcast by the one or more vend-           6    a status of the transaction for a product stocked by the
           ing machines;                                                    available vending machine.
        displaying a user interface of the mobile payment                      10. The method of claim 1, further comprising:
           application on the display of the mobile device, the               in addition to obtaining the notification, receiving, via the
           user interface being configured to accept user input                   radio transceiver, a coupon that is targeted to the user
                                                                       10
           to trigger payment by the mobile payment applica-                      of the mobile device based on the transaction.
           tion for a vending transaction initiated by the user                11. The method of claim 1, wherein:
           with an available vending machine of the one or                    the mobile payment application on the mobile device is
           more vending machines;                                                 configured to communicate with a payment module
        establishing via the radio transceiver a wireless con-         16
                                                                                  coupled with an internal interface of the available
           nection between the mobile device and the available                    vending machine;
           vending machine of the one or more vending                         the mobile device sends the information to the payment
           machines;                                                              module via the radio transceiver of the mobile device in
        after establishing the wireless connection, presenting                    conjunction with the available vending transaction;
           on the user interface of the mobile payment appli-          20     the available vending machine sends the message to the
           cation an indication that the wireless connection has                  payment module in conjunction with the vending trans-
           been established      with the available      vending                  action; and
           machine;                                                           the mobile device obtains, via the radio transceiver, the
        sending information via the radio transceiver, in con-                    notification from the payment module based on the
           junction with the vending transaction;                      26         message.
        obtaining, via the radio transceiver, a notification,                  12. A mobile device, comprising:
           wherein the notification is based on a message from                a radio transceiver;
           the available vending machine in conjunction with                  one or more output devices including a display;
           the vending transaction; and                                       one or more processors; and
        in response to obtaining the notification, providing, on
                                                                       30     memory storing one or more programs to be executed by
                                                                                  the one or more processors, the one or more programs
           the display, an updated user interface of the mobile
                                                                                  comprising instructions for:
           payment application that provides a visual represen-
                                                                                  executing a mobile payment application on the mobile
           tation of the notification to the user of the mobile
                                                                                     device, the mobile payment application being con-
           device.                                                     36            figured to identify one or more vending machines in
     2. The method of claim 1, wherein the one or more output                        proximity to the mobile device that are available to
   devices of the mobile device include at least one of: one or                      accept payment from the mobile payment applica-
   more speakers, one or more light emitted diodes LEDs, and                         tion, the identifying including detecting predefined
   a vibration mechanism.                                                            radio messages broadcast by the one or more vend-
      3. The method of claim 2, wherein the visual representa-         40            ing machines;
   tion of the notification is at least one of:                                   displaying a user interface of the mobile payment
      a message displayed on the display of the mobile device;                       application on the display of the mobile device, the
      a banner notification displayed on a display of the mobile                     user interface being configured to accept user input
         device; and                                                                 to trigger payment by the mobile payment applica-
      a visual alert from the one or more LEDs of the mobile           46            tion for a vending transaction initiated by the user
         device.                                                                     with an available vending machine of the one or
      4. The method of claim 1, wherein the notification indi-                       more vending machines;
   cates completion of a transaction between the user of the                      establishing via the radio transceiver a wireless con-
   mobile device and the available vending machine.                                  nection between the mobile device and the available
      5. The method of claim 4, wherein the mobile device              60            vending machine of the one or more vending
   includes a long-range transceiver and further wherein the                         machines;
   notification at least includes an amount of the completed                      after establishing the wireless connection, presenting
   transaction, and the method further comprises:                                    on the user interface of the mobile payment appli-
      sending at least a portion of the notification to a server via                 cation an indication that the wireless connection has
         the long-range transceiver.                                                 been established      with the available      vending
      6. The method of claim 1, wherein the notification indi-                       machine;
   cates abortion of a transaction initiated by the user of the                   sending information via the radio transceiver, in con-
   mobile device.                                                                    junction with the vending transaction;
      7. The method of claim 1, wherein the notification indi-                    obtaining, via the radio transceiver, a notification,
   cates failure of a transaction initiated by the user of the         60            wherein the notification is based on a message from
   mobile device or a malfunction associated with the available                      the available vending machine in conjunction with
   vending machine.                                                                  the vending transaction; and
      S. The method of claim 1, wherein the mobile device                         in response to obtaining the notification, providing, on
   includes an accelerometer and the method further comprises:                       the display, an updated user interface of the mobile
      based on data from the accelerometer, determining                66            payment application that provides a visual represen-
         whether the user is walking away from the available                         tation of the notification to the user of the mobile
         vending machine; and                                                      device.
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     13. The mobile device of claim 12, wherein       the one or          establishing via the radio transceiver a wireless connec-
   more output devices of the mobile device include   at least one            tion between the mobile device and the available vend-
   of: one or more speakers, one or more light emitted diodes                 ing machine of the one or more vending machines;
   LEDs, and a vibration mechanism.                                       after establishing the wireless connection, presenting on
      14. The mobile device of claim 13, wherein the visual 5                 the user interface of the mobile payment application an
                                                                              indication that the wireless connection has been estab-
   representation of the notification is at least one of:
                                                                              lished with the available vending machine;
      a message displayed on the display of the mobile device;
      a banner notification displayed on a display of the mobile          sending information via the radio transceiver, in conjunc-
                                                                              tion with the vending transaction
         device; and
      a visual alert from the one or more LEDs of the mobile 10           obtaining, via the radio transceiver, a notification, wherein
                                                                              the notification is based on a message from the avail-
         device.
      15. The mobile device of claim 12, wherein the notifica-                able vending machine in conjunction with the vending
                                                                              transaction; and
   tion indicates completion of a transaction between the user
                                                                          in response to obtaining the notification, providing, on the
   of the mobile device and the available vending machine.
      16. The mobile device of claim 12, wherein the notifica-      15        display, an updated user interface of the mobile pay-
                                                                              ment application that provides a visual representation
   tion indicates abortion of a transaction initiated by the user
   of the mobile device.                                                      of the notification to the user of the mobile device.
      17. The mobile device of claim 12, wherein the notifica-            19.The non-transitory computer readable storage medium
   tion indicates failure of a transaction initiated by the user of    of claim 1S, wherein the one or more output devices of the
                                                                       mobile device include at least one of: one or more speakers,
   the mobile device or a malfunction associated with the 20
                                                                       one or more light emitted diodes LEDs, and a vibration
   available vending machine.
      1S. A non-transitory computer readable storage medium            mechanism.
   storing one or more programs, the one or more programs
                                                                          20. The non-transitory computer readable storage medium
   comprising instructions, which, when executed by a mobile
                                                                       of claim 19, wherein the visual representation of the noti-
                                                                       fication is at least one of:
   device with one or more processors, one or more output 25
   devices including a display, and a short-range transceiver,            a message displayed on the display of the mobile device;
                                                                          a banner notification displayed on a display of the mobile
   cause the mobile device to perform operations comprising:
                                                                              device; and
      executing a mobile payment application on the mobile
                                                                          a  visual alert from the one or more LEDs of the mobile
         device, the mobile payment application being config-
         ured to identify one or more vending machines in 30
                                                                              device.
         proximity to the mobile device that are available to
                                                                          21.   The non-transitory computer readable storage medium
         accept payment from the mobile payment application,
                                                                       of claim 1S, wherein the notification indicates completion of
                                                                       a transaction between the user of the mobile device and the
         the identifying including detecting predefined radio
                                                                       available vending machine.
         messages broadcast by the one or more vending
         machines                                                   35    22. The non-transitory computer readable storage medium
      displaying a user interface of the mobile payment appli-
                                                                       of claim 1S, wherein the notification indicates abortion of a
                                                                       transaction initiated by the user of the mobile device.
         cation on the display of the mobile device, the user
         interface being configured to accept user input to               23. The non-transitory computer readable storage medium
         trigger payment by the mobile payment application for
                                                                       of  claim 1S, wherein the notification indicates failure of a
                                                                       transaction initiated by the user of the mobile device or a
         a vending transaction initiated by the user with an 40
                                                                       malfunction associated with the available vending machine.
         available vending machine of the one or more vending
         machines;
